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                                IN THE UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF COLORADO


     Civil Action No. 11-cv-01611-MSK-CBS

     WESTERN CONVENIENCE STORES, INC., a Colorado corporation;
     WESTERN TRUCK ONE, LLC, a Colorado limited liability company,

            Plaintiffs and Counterclaim Defendant,

     vs.

     SUNCOR ENERGY (U.S.A.) INC., a Delaware corporation,

           Defendant, Counterclaimant, Third-Party Plaintiff,

    HOSSEIN and DEBRA LYNN TARAGHI,

           Third-Party Defendants.

      SUNCOR'S REPLY TO PLAINTIFFS' RESPONSE TO DEFENDANT'S MOTION FOR
      SUMMARY JUDGMENT ON FIRST AND SIXTH CLAIMS FOR RELIEF AND THIRD
                        AFFIRMATIVE DEFENSE (DOC. 185)

           Suncor Energy (U.S.A.) Inc. ("Suncor") replies to Plaintiffs' Response to Defendant's

    Motion for Summary Judgment on First and Sixth Claims for Relief and Third Affirmative

    Defense (Doc. 185) ("Resp.").

                                            INTRODUCTION

           It is well-established that "to avoid summary judgment the responding party must present

    sufficient, competent, contradictory evidence to establish a genuine factual dispute." Anderson

    v. Cunningham, 2008 WL 486488, at *3 (D. Colo. Feb. 18, 2008) (Krieger, J.). As Suncor will

    show, Plaintiffs have not done that. To be sure, Plaintiffs' Response is 66 pages long, chocked

    full of assertions of fact, giving the appearance that there must be a disputed issue of material

    fact somewhere. But there is not. That is because Plaintiffs' purported disputed facts violate the

    clear admonitions of this and other Courts. Among other matters, Plaintiffs make assertions of



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     fact without "citation to evidentiary material that establishes that fact," but instead are based on

     Plaintiffs' argument. Kenfield v. Colo. Dept. of Public Health & Env 't, 837 F. Supp. 2d 1232,

     1239 (D. Colo. 2011) (Krieger, J.). Throughout Plaintiffs have "overstated the significance" of

     witness statements and mischaracterized the witness's actual testimony by taking it out of

     context in order to induce the Court to draw an inference that is "flatly contradicted by [the

     witness's] own testimony." Am. Family Mut Ins. Co. v. Gustafson, 2011 WL 782574, at *8 (D.

     Colo. Feb. 25, 2011) (Krieger, J.); Watershed LLC v. Columbus Life Ins. Co., 2011 WL 4048779,

     at *5 (D. Colo. Sept. 10, 2011) (Krieger, J.).

            These flaws permeate Plaintiffs Response to the four principal arguments set forth in

     Suncor' s Motion:

            First, Western Convenience Stores, Inc. ("WCS")' completely fails to satisfy its burden

     to demonstrate that the relevant fuel purchases took place in interstate commerce. Indeed, it

     makes no effort to identify the purchases that it claims involved finished products from outside

     of Colorado. The undisputed record demonstrates that, for a substantial portion of the sales in

     question, WCS could never satisfy this burden, because Suncor did not acquire any products

     from outside of Colorado. WCS's failure to meaningfully address these indisputable facts

     demonstrates its failure to satisfy the jurisdictional requirement with regard to any sales at any

     location for any time in the Damage Period.

            Second, Plaintiffs attempt to avoid Suncor's "meeting competition" defense by misstating

     and overstating the record. The indisputable facts reveal that Suncor acted in good faith and to

    meet competition when offering prices to WCS's competitors.



           Only WCS has a price discrimination claim; Western Truck One, LLC ("WTO") did not
    purchase fuel from Suncor. Because the Response is filed by both Plaintiffs, Suncor will refer to
    "WCS" and to "Plaintiffs."



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             Third, WCS cannot present any evidence of antitrust injury, nor has it presented

     sufficient facts to demonstrate an "inference" of such injury. Even if WCS were entitled to an

     inference of injury (and it is not), the record reveals a complete lack of causation between the

     alleged unlawful price discrimination and any competitive harm.

            Fourth, Plaintiffs have no claim for violation of the Colorado Unfair Trade Practices Act.

     WCS conjures a private right of action that does not exist to a pursue a claim under a state statute

     (C.R.S. § 6-2-108) that is inapplicable.

            Suncor is entitled to complete summary judgment on Plaintiffs' price discrimination and

     unfair trade practice claims.

            A. THE FIRST ELEMENT OF CLAIM I THAT CANNOT BE PROVEN BY
                 WCS: INTERSTATE COMMERCE.

            "The Robinson-Patman Act has a stringent interstate commerce requirement." Chawla v.

    Shell Oil Co., 75 F. Supp. 2d 626, 645 (S.D. Tex. 1999). Plaintiffs bear the burden of showing

     that, in each and every instance where it contends that it received a less favorable price than its

    competitor, "[one] of the two transactions which evidence the alleged price discrimination

    crossed a state line." Coastal Fuels of Puerto Rico, Inc. v. Caribbean Petroleum Corp., 79 F.3d

    182, 189 (1st Cir. 1996); accord Belliston v. Texaco, Inc., 455 F.2d 175, 178 (10th Cir.), cert.

    denied, 408 U.S. 928 (1972) (" t least one of the discriminatory sales complained of must be

    in commerce." (emphasis in original and internal citation omitted)).

            Plaintiffs have made no such showing in their Response or through their experts. Instead,

    they attempt to change the relevant legal tests, and offer only general assertions that, from time

    to time, Suncor purchased and sold gasoline outside of Colorado. Resp. at 43-46. The thrust of

    Plaintiffs' argument is that, if given the chance, they might somehow be able to cobble together

    evidence to create an issue for trial. That is insufficient both to meet their jurisdictional burden




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     and to withstand summary judgment. Conaway v. Smith, 853 F.2d 789, 794 (10th Cir. 1988)

     (holding party "may not escape summary judgment in the mere hope that something will turn up

     at trial").

              As explained below, Plaintiffs' attempt to satisfy the "in commerce" requirement fails as

     a matter of law, entitling Suncor to summary judgment for four reasons:

              First, the fact that Suncor generally engages in some limited interstate commerce is

     irrelevant. Contra Resp. at 39-40. Plaintiffs must show that the specific transactions with WCS

     or Kroger for each day at each terminal that give rise to the alleged price discrimination were "in

     commerce" for purposes of the Robinson-Patman Act.

             Second, Plaintiffs make no attempt to identify the gasoline that it or the Dillon

     Companies, d/b/a King Soopers/City Markets, or Mini Mart, Inc., d/b/a Loaf 'N Jug

     (collectively, "Kroger") purchased that allegedly was acquired in interstate commerce. Resp. at

     50-53. This is fatal to Plaintiffs' claim because WCS must specifically identify one of two

     comparable transactions, occurring on the same day and at the same terminal, that crossed a state

     line. Plaintiffs have not presented any facts to even attempt to satisfy this burden. Instead, at a

     minimum, the indisputable facts demonstrate that Suncor did not acquire any gasoline or diesel

     fuel from outside Colorado for a substantial portion of the Damage Period that was sold at the

    west truck rack of Suncor's Commerce City refinery. Plaintiffs' failure to address these

    indisputable facts underscores their failure to identify any sales at any terminal that were "in

    commerce" for purposes of the Robinson-Patman Act.

             Third, regardless of whether and when Suncor acquired conventional gasoline from

    outside of Colorado, Plaintiffs cannot avoid the indisputable fact that Suncor turned this gasoline

    into a different product in Colorado before it was sold to WCS and Kroger. Resp. at 48-50. The




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     Robinson-Patman Act applies only to the interstate sale of finished products. When a seller uses

     interstate products to create a new product that is sold within a state, that new product is not

     within the "flow of commerce" for purposes of a price discrimination claim.

            Fourth, Plaintiffs contend that, even though Suncor sold WCS and Kroger gasoline only

     in Colorado, both WCS and Kroger later sold a small portion of this gasoline at retail stations

     outside of Colorado, thereby bringing all of Suncor 's sales within interstate commerce. Resp. at

     54-55. Plaintiffs never specifically identify these de minimis sales and do not allege any antitrust

     injury arising from them. In any event, these sales do not convert Suncor's sales in Colorado to

     interstate sales subject to the Robinson-Patman Act.

                    1.      Plaintiffs Cannot Satisfy the "In Commerce" Requirement Simply by
                            Showing that Suncor Is an Interstate Actor.

            Plaintiffs contend that, so long as they prove Suncor operates in interstate commerce,

     Suncor's intrastate sales are within the "flow of commerce" for purposes of the Robinson-

     Patman Act. Resp. at 39-40. That is not the law. In fact, federal courts have uniformly rejected

     the notion that interstate companies are per se subject to the Robinson-Patman Act. E.g.,

     Belliston, 455 F.2d at 178 ("[I]t is not enough to show that a defendant is engaged in interstate

     commerce; rather, it must be established that the sale complained of was one occurring in

     interstate commerce."); Borden v. FTC, 339 F.2d 953, 955 (7th Cir. 1964) ("[E]stablishing

    jurisdiction cannot be discharged merely by showing that [seller] is an interstate concern or that

     it makes interstate sales not involved in the challenged discrimination."). Plaintiffs' general

    reference to Suncor's sales to other parties, and Suncor's fuel exchanges with other refiners, is




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     completely irrelevant.2 Borden, 339 F.2d at 955 ("The language and scheme of Section 2(a)

     make plain that not all transactions by interstate businesses are subject to the statute....").

                    2.      It Is Now Undisputed that, for nearly all of the Damage Period,
                            Suncor Could Not Have Sold Fuel to WCS or Kroger Produced
                            Outside of Colorado.

            The Robinson-Patman Act's interstate commerce requirement is "stringent." Chawla, 75

     F. Supp. 2d at 645. Plaintiffs must show that, in each instance where they contend that WCS

     received a less favorable price than its competitor, "[one] of the two transactions which evidence

     the alleged price discrimination crossed a state line." Coastal Fuels of Puerto Rico, 79 F.3d at

    189; accord Belliston, 455 F.2d at 178. To satisfy this burden, courts consistently require the

    plaintiff to identify and match the individual transactions that give rise to the allegedly unlawful

    price discrimination. Hanson v. Pittsburgh Plate Glass Indus., Inc., 482 F.2d 220, 224 (5th Cir.

    1973), cert. denied, 414 U.S. 1136 (1974) (requiring plaintiff to identify and match each sale to

    favored and disfavored purchase to demonstrate discriminatory prices); Food Basket, Inc. v.

    Albertson '5', Inc., 383 F.2d 785, 788-89 (10th Cir. 1967) (examining individual transactions to

    determine if any were in interstate commerce for purposes of Robinson-Patman Act); see also

    Cellar Door Prods., Inc. v. Kay, 897 F.2d 1375, 1377-78 (6th Cir.), cert. denied, 498 U.S. 819

    (1990) (noting each transaction involving allegedly discriminatory price is separate legal wrong

    and must satisfy elements of Robinson-Patman); Precision Printing Co. v. Unisource Worldwide,




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           Plaintiffs flatly contradict the record by contending that "Suncor... regularly entered into
    'exchange' agreements where it simply exchanges barrels of Fuel refined and/or owned by
    Suncor for Fuel owned/refined by out-of-state entities." Resp. at 45. Suncor entered into two
    agreements during the Damage Period for the exchange of fuel with Sinclair and ConocoPhillips,
    whereby Suncor took possession of fuel in Casper, Wyoming and La Junta, Colorado. Piscatelli
    Dep., Exh. 6 to Resp., at 83:15-85:9. WCS did not purchase any gasoline from Suncor in Casper
    or La Junta.



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     Inc., 993 F. Supp. 338, 353 (W.D. Pa. 1998) (conducting interstate commerce analysis for each

     transaction involving alleged price discrimination).

            Plaintiffs do not dispute that they bear this burden but, remarkably, they make no effort to

     satisfy it. They do not identify (a) the types of gasoline and diesel fuel that were acquired by

     Suncor from outside of Colorado, (b) when Suncor acquired this gasoline and diesel fuel from

     outside of Colorado, or (c) when, during the Damage Period, Suncor sold gasoline and diesel fuel

     to WCS or Kroger. Instead, Plaintiffs attempt to circumvent the requirement that they must

     specifically identify sales in interstate commerce by claiming that, on certain occasions, Suncor

     acquired gasoline and diesel fuel from outside of Colorado. Resp. at 43-45, 51-52 This is

     insufficient. Hanson, 482 F.2d at 224; Food Basket, Inc., 383 F.2d at 788-89.

            Not only have Plaintiffs failed to identify the days upon which WCS purchased specific

    products that were in interstate commerce, but they have failed to even show what months are at

    issue in the case. The undisputed record reveals that Suncor did not acquire product from

    outside Colorado for many months during the Damage Period, thus WCS and Kroger could not

    have purchased product that was within interstate commerce during those months. This is

    particularly true with respect to WCS 's purchases of product at the west truck rack of Suncor's

    Commerce City refinery, as explained by Angela Shields, Suncor's Fuels Quality Specialist.

    Shields Declaration, Exh. AA to Suncor's Mot., 1N3(a)-(d). Plaintiffs purport to challenge Ms.

    Shields' Declaration (Resp. at 50-53), but their challenge simply reveals that nothing is

    genuinely disputed in this case.3



    3
            WCS overstates the record when it claims that "Suncor's own testimony confirms that it
    would be impossible for Western to establish exactly which Fuel sales were of Fuel refined
    outside Colorado..." Resp. at 46 n. 22. WCS relies solely on the deposition testimony of
    Suncor's product trader, James Piscatelli. Id. at 45-46. In fact, Piscatelli testified that he could
    not determine the source of fuel at the refinery ("I could not"), but made clear this was based on



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            As explained in Suncor's Motion (and not disputed by Plaintiffs), Suncor sold three

     principal different types of gasoline products to WCS during the Damage Period: "Premium E-

     10" gasoline, "Regular E-10" gasoline, and diesel fuel. Suncor's Mot. at 24-26; Glick/Tatos

     Report, Exh. A to Suncor's Mot., at 8 (identifying these three products as basis for damage

     calculations). "Premium E-10" is created by combining a separate product known as "subPUL"

     with ethanol, and "Regular E-10" is created by combining a separate product known as

     "subRUL" with ethanol Suncor's Mot. at 24-25 (explaining process of creating "Premium E-

     10" and "Regular E-10"); Shields Declaration, Exh. AA to Suncor's Mot., ¶2 (same). While

     WCS's argument offers only generalizations, its conclusion is that it can satisfy the Robinson-

     Patman Act's "in commerce" requirement because sometimes Suncor acquired some subPUL,

     subRUL and diesel fuel from outside Colorado during the Damage Period, and that is good

     enough. Resp. at 44-47, 51-54. It is not.

            As a legal matter, Plaintiffs' conclusion completely fails to satisfy the interstate

     commerce requirement, because Plaintiffs have neither identified nor matched the individual

     transactions that give rise to the allegedly unlawful price discrimination to determine if the

     product traveled in interstate commerce. Hanson, 482 F.2d at 224 (must identify and match each

     sale to favored and disfavored purchasers to demonstrate discriminatory prices); Food Basket,

     Inc., 383 F.2d at 788-89 (applying jurisdictional requirement to individual transactions). As a

     factual matter, Plaintiffs' conclusion also fails based on the indisputable record. The following

    table illustrates this failure using the products acquired from outside of Colorado and delivered to

    the west plant of Suncor's Commerce City refinery, where Plaintiffs concede the overwhelming


    his personal knowledge ("I have no idea how you would go about doing that or who could go
    about doing that."). Piscatelli Dep., Exh. 6 to Resp., at 70:17-72:-2. WCS has presented no
    evidence or testimony to support the notion that such a determination is "impossible," and WCS
    made no subsequent effort to ascertain the ability to trace the fuel inside the refinery.



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     amount of the sales to WCS took place. Resp. at 53 (conceding sales at west plant of Commerce

     City). The table shows the type of products that Suncor acquired from outside Colorado, and the

     months in which it acquired those products for sale at the Commerce City west plant, and

     whether Plaintiffs dispute these facts:

                                                  Table 1

                       DAMAGES MONTH           ACQUIRED FROM OUTSIDE COLORADO?
                                                 subPUL        subiRUL         Diesel


                             Oct-09                NO         DISPU7FD          NO      Ill
                             Noy-09                NO         DISPUTFD          NO
                             Dec-09                NO             NO            NO
                             Jan-10                NO         DiSPUTED          NO
                             Feb-10                NO         :DISPUTED         NO
                             Mar-10                NO             NO            NO
                             Apr-10                NO             NO            NO
                             May-10                NO             NO            NO
                             Jun-10               NO              NO            NO
                             Jul-10                NO             NO            NO
                             Aug-10               NO             NO             NO
                             Sep-10                NO            NO             NO
                             Oct-10                NO            NO             NO
                             Nc -.,, 10            NO            NO             NO
                             Dec-10                NO            NO             NO
                             Jan -1                NO            NO             YES
                             F,-, 1) 11           NO             NO             YES
                            1iar-11               NO             NO             YES
                             Apr-11               YES            YES            YES


    Shields Declaration, Exh. AA to Suncor's Mot., ¶113(a)-(d) (establishing months in which Suncor

    did not acquire subPUL, subRUL and Diesel from outside of Colorado during the Damage

    Period); Resp. at 50-53 (challenging four of the months established by Ms. Shields).

            Table 1 confirms that, for a substantial portion of the period at issue in this case, WCS

    and Kroger could not have acquired gasoline made with fuel acquired in interstate commerce,

    because Suncor did not acquire any such gasoline from outside of Colorado that was sold at the




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     west plant in Commerce City. It also refutes Plaintiffs' assertion, unsupported by any citation,

     that "a substantial portion of the Fuel sold by Suncor to Kroger and Western... was

     manufactured outside of the state...." Resp. at 43. Specifically, Table 1 reveals the following

     with respect to Suncor's Commerce City West plant sales:

            •    Premium E 10: It is undisputed that, from October 2009 through March 2011,
                                -




                 Suncor did not acquire any subPUL from outside of Colorado. Shields Declaration,
                 Exh. AA to Suncor's Mot., 113(a). Plaintiffs do not dispute this in their Response.
                 Resp. at 51-53 (challenging Shields Declaration but not as to purchases of subPUL).
                 Thus for all but one month in the Damage Period (April 2011), Suncor could not have
                 sold any Premium E-10 or Midgrade E-10 that was created using subPUL that was in
                 interstate commerce. Accord Shields Declaration, Exh. AA to Suncor's Mot., 113(a).


            •    Regular E 10: It is undisputed that, for December 2009 and from March 2010
                            -




                 through March 2011, Suncor did not acquire any subRUL from outside of Colorado.
                 Shields Declaration, Exh. AA to Suncor's Mot., ¶3(c). Plaintiffs do not dispute these
                 months in their Response. Resp. at 51-52 (alleging out-of-state subRUL purchases
                 for October and November 2009, January and February 2010 and April 2011). Thus
                 for all but five months of the Damage Period, Suncor could not have sold any Regular
                 E-10 or Midgrade E-10 that was created using subRUL that was in interstate
                 commerce. Accord Shields Declaration, Exh. AA to Suncor's Mot., ¶3(c).


            •    Diesel Fuel: It is undisputed that, for October 2009 through December 2010, Suncor
                 did not acquire any diesel fuel from outside of Colorado. Shields Declaration, Exh.
                 AA to Suncor's Mot., ¶3(d). Plaintiffs do not dispute this in their Response. Resp. at
                 51-53 (alleging out-of-state diesel purchases in September 2009 and 2011). Thus for
                 all but the five months of 2011 in the Damage Period, Suncor could not have sold any
                 diesel fuel that was in interstate commerce. Accord Shields Declaration, Exh. AA to
                 Suncor's Mot., 113(d).




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                  In their Response, Plaintiffs purport to challenge Ms. Shields' Declaration. Resp. at 51-

     53. This challenge, however, simply underscores the lack of disputed factual issues, as well as

     the lack of effort by Plaintiffs to identify the sales that took place in interstate commerce:

                  First, Plaintiffs claim that Ms. Shields omits five out-of-state purchases. Resp. at 51-52.

     Those purchases, identified on Exhibit 29 to Plaintiffs' Response, are as follows:


                                                                                                      PLANTIFES' EX. 29                                                                                                         Page 1


                              Eftdctn, Dade                                      Product               Gallons/                                                 Method of         FOB                                 In Shields
      -Contact Date                                     Trading Partner                    Volume                  Total Salons -          Destination                                             Oates No.
                           Stan           End                                    (Grade)               Barrels                                                Transportation    tory...in                            Declaration?

                                      9/00/2005 Valero Marketing &                          120,000 bprn 11 MO.;                                                               Sumac
             410/2009    4.,c, :,,,                                               PUL                                5.040,000 gal     Suncor East Plant      Plpelide         pi.at ,      Suncor_WCS 00043629          No
                                                Supply Company                                      Sept. 09)


                         9/1/200.9    9/30/200     I'd lef0 Markeung &                                                                                                                      t untcy_WCS 00043651 -
       2    51.28/2009                                                           Diesel      10,030 PM,               4201 E,:-. fel   Denver                 Tank transfer                                              No
                                                   Supply Company                                                                                                                           Suncor_WD.S 00343655
                                                                                 02L(05
                                                                . &
                                                   Valero Marketing                                                                                                                         SLncor_WCS 00043645 -
       ,    10/14;7009   10/1/2009    10/31/2309                  -              octane      10.346 bMs               455,532 gal      DU,10 FIT &   Fountain Tank transfer                                              No
                                                   SuPPIN, COmpany                                                                                                                          Suncor_WC5 03043650
                                                                                  cony)

       23   5/13/2011    5/12/2011    5/13/2011    Frontier Oil & defining Co.   Unl 82        5,000 Olds             210.003 ga!      Fountain OMPL          010                           Suncor_WCS 00043579          No

                                                                                                                                       Aurora. CO -                                         Suncor_WCS 00343972 -
       25   3/15/2011    3/15/2011    4:30/2011    Shell Oil Products US         Diesel    2,100,000 Gal             2,100,000 gal                            truck                                                      , No
                                                                                                                                       Maze Ian                                             Suncor WC5 000439.80-




     As revealed by Plaintiffs' own exhibit, none of these purchases concerns the delivery of subPUL,

     subRUL or diesel fuel to Suncor's Commerce City refinery during the Damage Period. Lines 1

     and 2 identify deliveries of PUL (not subPUL) and diesel under contracts that ended in

     September 2009, outside the Damage Period that begins in October 2009. Exh. 29 to Resp. As

     for the RUL and diesel purchases identified on Lines 5, 23 and 25 of Exhibit 29, the column

     "Destination" clearly identifies the delivery points as terminals other than Commerce City (that

     is, other than its east or west plant). Id. Plaintiffs concede that Ms. Shields' declaration is

     limited to Suncor's Commerce City refinery. Resp. at 53. Her Declaration, therefore, is entirely

     accurate.

                 Second, Plaintiffs further claim that Ms. Shields ignores two out-of-state purchases of

     subRUL in October and November of 2009 and January and February 2010, identified on

     Exhibit 29 as follows:




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                                                                                        PLANTIFFS EX. 29
                                                                                                                                                               Suncor WCS 00044189 -
         18   10/2712009   10/22/2009   11110/2009 9880r18108R (sap.    Sub 9700!   22820 bbls         8248208.1      Dupont        Pipelirt       Dispam                              Yes
                                                                                                                                                               Sunspr WCS 00044192.
                                                                                                                                                    RMPL
                                                                                                                      RMPL Dup0nz                              Sunzw_WCS 00044285 -
         20   1/29/1010     2/1/2020    2122/2010   E0066689088 Corp.   kb 87002    75,09 tb:s        '5,150000 gal                 #0 Tank Transi0 Dupont                             Yes
                                                                                                                      Locaton                            .     50npor_SVCS 00014258
                                                                                                                                                    ternunal




     Resp. at 52. Again, the delivery point for these purchases is clearly identified as Dupont, not

     Commerce City, and therefore Ms. Shields' Declaration is accurate. Id. at 53 (conceding that

     Shields Declaration concerns only Commerce City sales at west truck rack); accord Shields

     Declaration, Exh. AA to Suncor's Mot., 11113(e)-(d) (describing out-of-state purchases of subRUL

     and diesel delivered to Commerce City).

                 Third, in an unsuccessful effort to impeach Ms. Shields, Plaintiffs have laid bare the lack

     of evidence they have of gasoline traveling in interstate commerce. As illustrated on Table 1

     above, Plaintiffs at best have raised the hypothetical possibility of interstate sales in four

     additional months during the Damage Period and, even then, only with respect to Regular E-10

     purchases. But this does not satisfy Plaintiffs' burden to prove, in each instance of alleged price

     discrimination, that lone] of the two transactions... crossed a state line." Coastal Fuels of

     Puerto Rico, 79 F.3d at 189; see also Hanson, 482 F.2d at 224 (plaintiff must identify and match

     each sale); Food Basket, Inc., 383 F.2d at 788-89 (examining individual transactions to

     determine if any were in interstate commerce). Plaintiffs have not offered any affirmative

     evidence that would satisfy this burden with respect to sales at Commerce City or any other

     Suncor terminal.

                 Plaintiffs contend that Ms. Shields' Declaration is "conspicuously limited" to sales at the

     Commerce City west plant, and not at the Commerce City east plant or Dupont or Fountain

     terminals. Resp. at 53. As explained in Suncor's Motion, the purpose of Ms. Shields'

     Declaration was to illustrate Plaintiffs' complete failure to identify the relevant times when

     Suncor could have acquired product from outside of Colorado, and therefore their failure to




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     satisfy their burden of establishing sales of gasoline in interstate commerce. Suncor's Mot. at

     24-25. In this respect, Suncor is following the lead of Plaintiffs' own damages experts, who

     focused on Commerce City sales when illustrating price differences during the Damage Period.

     Glick/Tatos Report, Exh. A to Suncor's Mot., at 10. There is good reason to use Commerce City

     as the principal example: Plaintiffs concede that 70 percent of the fuel purchased by WCS and

     Kroger was sold at Commerce City, and that the overwhelming amount of that fuel was

     purchased at the west plant. Resp. at 47, 53.

            These sales reveal the abject failure of Plaintiffs to satisfy their burden of showing any

     sales to WCS and Kroger that were "in commerce" for purposes of the Robinson-Patman Act.

     Hanson, 482 F.2d at 224 (requiring plaintiff to identify and match each sale to demonstrate

     discriminatory prices). Plaintiffs have come forward with nothing to identify which months, let

     alone which days, WCS could have purchased gasoline that traveled "in commerce," whether at

     Commerce City or at other terminals, including Dupont or Fountain. Resp. at 53 (noting

     purchases at terminals other than Commerce City, but failing to identify which of these

     purchases involved gasoline in the flow of interstate commerce). On this critical issue, Plaintiffs

     are conspicuously silent, and this silence is fatal to WCS 's Robinson-Patman Act claim.

     Hanson, 482 F.2d at 224 (recognizing plaintiff must identify and match sales subject to

     Robinson-Patman Act); Food Basket, Inc., 383 F.2d at 788-89 (applying Robinson-Patman Act's

     interstate commerce requirement to individual transactions).

            Based on the undisputed facts, Plaintiffs have failed to satisfy their burden of proving

     which sales in the relevant Damage Period took place in interstate commerce. Plaintiffs have

     failed to identify and match the relevant sales that were "in commerce," and the indisputable

     facts reveal that Plaintiffs cannot identify any gasoline sold in Commerce City that was "in




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     commerce" for a substantial portion of the Damage Period. The Court therefore should grant

     summary judgment in favor of Suncor on all of Plaintiffs' Robinson-Patman Act claims.

     McGoffin v. Sun Oil Co., 539 F.2d 1245, 1248 (10th Cir. 1976) (holding plaintiff bears burden of

     proving sales in commerce for purposes of Robinson-Patman Act); Belliston, 455 F.2d at 178

     (rejecting price discrimination claim based on plaintiffs failure to establish sales in commerce).

     In the alternative, there is no dispute that, for the period identified in Tables 1, Suncor did not

     acquire gasoline from outside of Colorado that was used to create fuel sold in Commerce City at

     its west truck rack. The Court, at a minimum, should enter summary judgment in favor of

     Suncor on Plaintiffs' claims relating to those sales in those months. Roorda v. Am. Oil Co., 446

     F. Supp. 939, 945 (W.D.N.Y. 1978) (dismissing price discrimination claims directed to products

     manufactured and sold within the state, and limiting action to products acquired in interstate

     commerce).

                    3.      It Is Undisputed that Suncor Sold WCS Products—Ethanolized
                            Gasoline—that Were Created Entirely in Colorado.

            The Robinson-Patman Act applies only "where a finished product is shipped into a state

     from elsewhere and is resold substantially unchanged within that state...." Roorda, 446 F. Supp.

     at 945. Thus where interstate products are used to create a new product sold entirely inside the

     state, those sales are not "in commerce" for purpose of the Robinson-Patman Act. Scranton

     Constr. Co. v. Litton Indus. Leasing Corp., 494 F.2d 778, 781 (5th Cir. 1974) (holding mixture

     of interstate ingredients in state was "fatal" to Robinson-Patman Act claim); Red Apple

     Supermarkets, Inc. v. Deltown Foods, Inc., 419 F. Supp. 1256, 1258 (S.D.N.Y. 1976) (limiting

     application of Robinson-Patman Act "to situations where a finished product is shipped into one

     state and is there resold in a substantially unchanged condition"). The touchstone, as explained

     by the Tenth Circuit, is whether "the character of these products is so changed that they cannot




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     be equated as the 'same stuff' to satisfy the requirements of the 'flow of commerce' theory."

     Belliston, 455 F.2d at 180.

             Plaintiffs do not dispute that gasoline products with ethanol are not the same products as

     gasoline products without ethanol. Shields Declaration, Exh. AA to Suncor's Mot., 72(a)-(f)

     (describing differences in products); Resp. at 48-50 (challenging sufficiency of process for

     ethanolizing gas, but not disputing differences in products); see also Wehrle Dep., attached as

     Exhibit BB, at 74:2-21 (acknowledging difference in ethanolized and unethanolized gasoline,

     noting "[e]thanol brings [gasoline] up to an octane to sell it at a retail level"); Taraghi Dep., Exh.

     S to Suncor's Mot., at 102:25-103:8 (admitting lack of knowledge as to whether ethanolizing

     gasoline changes product).

            Consequently, Plaintiffs do not (and cannot) dispute that Premium E-10, Midgrade E-10

     and Regular E-10 are different products from subPUL or subRUL acquired by Suncor from

     outside of Colorado. Resp. at 48-52 (raising no challenge to differences in these products).

     Plaintiffs also concede that Suncor creates these E-10 gasoline products entirely inside Colorado.

     Id. at 48-49 (describing process for ethanolizing gasoline). These ethanolized gasoline products

     created in Colorado are not the "same stuff' as the gasoline products that Plaintiffs claim Suncor

     brought in from outside Colorado. Belliston, 455 F.2d at 180.

            Rather than disputing the difference between ethanolized and unethanolized gasoline,

     Plaintiffs change the' legal test. According to Plaintiffs, the issue is not whether the product has

     been changed but, instead, whether the process used to change the product is "highly technical,"

     "highly complex," or "expensive." Resp. at 50. Plaintiffs contend that ethanol "is simply dosed

     directly into the purchaser's truck when the purchaser takes delivery at the terminal." Id. at 49.




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     Plaintiffs argue that adding ethanol "is insufficient to take any of Suncor's Fuel sales out of the

     flow of commerce," because the process is not technical, complex, or expensive. Id. at 50.

             The process used to change the product is irrelevant. The relevant issue is whether "the

     character of these products is so changed that they cannot be equated as the 'same stuff. '"

     Belliston, 455 F.2d at 180. To be sure, the refining at issue in Belliston was complex. Id.

     (describing refming process). But there is nothing to suggest that the blending of butterfat and

     other ingredients to create ice cream was a complex process in Central Ice Cream Co. v. Golden

     Rod Ice Cream Co., 287 F.2d 265, 266 (7th Cir.), cert. denied, 368 U.S. 829 (1961), or that the

     mixing of cement and aggregate to create concrete was highly technical or expensive in Scranton

     Construction Co., 494 F.2d at 781, or that treating water with chlorine and fluoride was

     complicated in McCallum v. City of Athens, 976 F.2d 649, 656 (11th Cir. 1992). In each of these

     cases, however, the courts held that the use of materials acquired outside the state to create a

     finished product sold entirely inside the state was insufficient as a matter of law to satisfy the "in

     commerce" requirement of the Robinson-Patman Act. McCallum, 976 F.2d at 656 (adding

     chlorine and fluoride to water created a new product—treated water—that was not in flow of

     intestate commerce); Scranton Constr. Co., 494 F.2d at 781 (applying same analysis to addition

     of concrete and aggregate to create cement); Central Ice Cream Co., 287 F.3d at 266 (holding

     butterfat is not ice cream).

            The reasoning of these opinions had nothing to do with the complex manufacturing, but

     instead turned on the fact that the finished products were not the "same stuff' as the out-of-state

     products: butterfat is not ice cream, cement is not concrete, untreated water is not treated water.

     In the same way, it is undisputed that subPUL is not Premium E-10, subRUL is not Regular E-




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     10, and neither subPUL nor subRUL is Midgrade E-10. Shields Declaration, Exh. AA to

     Suncor's Mot., 712(a)-(0.

            These opinions are consistent with the principal case relied upon by Plaintiffs, Foremost

     Dairies, Inc. v. FTC, 348 F.2d 674 (5th Cir.), cert. denied, 382 U.S. 959 (1965).4 Resp. at 50. In

     Foremost Dairies, the Fifth Circuit found that testing, homogenizing and pasteurizing out-of-

     state raw milk did not interrupt the flow of commerce, because the milk "was not altered

     materially" by these processes—it remained milk 348 F.2d at 677-78. The Court noted,

     however, that processing the product into "a different state or thing" would break the flow of

     interstate commerce. Id. at 678 n.8. In contrast, the milk in Red Apple was processed in such a

     way as to turn whole milk into low-fat milk, which was sold as a different product. 419 F. Supp.

     at 1258. The critical distinction in these dairy cases is not the complexity of the processing—it is

     whether processing results in a different product. Id.

            As shown above, Plaintiffs never dispute (and cannot dispute) that subPUL and subRUL

     are different products from Premium E-10, Midgrade E-10 and Regular E-10, which have

     different octane ratings and are governed by different regulations. Shields Declaration, Exh. AA

     to Suncor's Mot., ¶2. It is not the "same stuff." For this reason, whether Suncor acquired

     subPUL or subRUL from outside of Colorado during the Damage Period is irrelevant—Suncor

     changed these products into different products (Premium E-10 and Regular E-10, respectively)

     by blending subPUL and subRUL with ethanol, a process that took place entirely in Colorado

     and therefore not "in commerce" for the purpose of the Robinson-Patman Act. Belliston, 455

     F.2d at 178-80; Scranton Constr. Co., 494 F.2d at 781; Red Apple, 417 F. Supp. at 1258.

     Therefore, the Court should grant summary judgment in favor of Suncor on all of WCS's


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            Plaintiffs also rely on Dean Milk v. FTC, 395 F.2d 696 (7th Cir. 1968), which simply
     adopted the analysis of Foremost Dairies without additional comment.



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     Robinson-Patman Act claims relating to the purchase of Premium E-10, Midgrade E-10 and

     Regular E-10 products.

                     4.      Resales of Gasoline by WCS and Kroger Are Irrelevant.

             In a last-ditch effort to save WCS 's claims, Plaintiffs contend that resales of gasoline by

     WCS and Kroger at stores outside of Colorado somehow render Suncor 's sales of gasoline "in

     commerce" for purposes of the Robinson-Patman Act. Resp. ¶15 at 54-55. Plaintiffs' argument

     fails for at least two reasons:

            First, Plaintiffs have no claim for damages arising from these out-of-state sales by WCS

     and Kroger. See Glick/Tatos Report, Exh. A to Suncor's Mot., at 12-13. Plaintiffs' damages

     experts identify 26 WCS stores competing with Kroger, as well as the locations of those stores.

     Id. All of the stores are in Colorado, as indicated on the tables prepared by Plaintiffs' experts.

     Id. Plaintiffs' argument therefore is another strawman based on inconsequential facts intended to

     avoid summary judgment. See Sterling Constr. Mgmt., LLC v. Steadfast Ins. Co., 2011 WL

     3903074, at *9 (D. Colo. Sept. 6, 2011) (Krieger, J.) (rejecting summary judgment argument

     based on "red herrings").

            Second, the law is plain that the relevant sales that must cross a state line are the sales by

     Suncor to WCS and Kroger, not the subsequent resale of the gasoline at locations unknown to

     Suncor. McCallum, 976 F.2d at 658 (rejecting "proposition that allegations of a consumer's

     interstate resale of a product purchased in strictly intrastate commerce is sufficient to state a

     Robinson-Patman claim against the initial intrastate seller"); Cliff Food Stores, Inc. v. Kroger,

     Inc., 417 F.2d 203, 209 10 (5th Cir. 1969) (same); Santiago Ramos v. Autoridad de Energia
                              -                                     -




     Electrica, 2012 WL 4321325, at *7 (D. Puerto Rico Sept. 18, 2012) (same). Plaintiffs rely

     exclusively on L & L Oil Co. v. Murphy Oil Corp., 674 F.2d 1113 (5th Cir. 1982), which found




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     the resale of gasoline outside of the state of its purchase qualified as within the "flow of

     commerce," but only because the purchaser acquired the fuel for resale to specific, pre-existing

     customers with pending orders. 674 F.2d at 1116. Plaintiffs have identified no such specific

     customers at its Nebraska gas stations awaiting gasoline purchased from Suncor. Luzerne &

     Lackawanna Supply Co. v. Peerless Indus., Inc., 855 F. Supp. 81, 85-86 (M.D. Pa. 1994)

     (distinguishing L & L Oil by noting buyer "failed to show that it purchased" products from the

     seller for customers "at their specific requests, or for their specific or anticipated needs"); see

     also Precision Printing Co., 993 F. Supp. at 347-48 (distinguishing purchases made to satisfy

     anticipated needs of pre-existing customers). Nor have Plaintiffs identified any of Kroger's

     specific customers buying Suncor's gas outside of Colorado. The resale of small quantities of

     gasoline by Kroger and WCS to unspecified customers outside Colorado during an undefined

     period does not defeat summary judgment. Luzerne & Lackawanna Supply Co, 855 F. Supp. at

     85-86.

              Third, regardless of whether these resales were "in commerce," they were de minimis.

     Plaintiffs contend that WCS transported roughly 3 million gallons of gasoline purchased from

     Suncor for sale in Nebraska. Resp. at 54. As calculated by Plaintiffs' damages experts, 3

     million gallons of gasoline is less than 5 percent of the over 65 million gallons of gasoline

     purchased by WCS over the Damage Period. See Glick/Tatos Affidavit, Exh. 23 to Resp., at

     App'x 2 (calculating total volume purchased by WCS). The same is true with respect to the

     million gallons Plaintiffs claim that Kroger sold outside of Colorado, which is less than 1 percent

     of the     million gallons of gasoline purchased by Kroger from Suncor. Resp. at 55;

     Glick/Tatos Affidavit, Exh. 23 to Resp., at App'x 3 (calculating total volume of gasoline

     purchased by Kroger). The law is clear that de minimis interstate sales involving "relatively




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     miniscule quantities" are insufficient to establish jurisdiction under the Robinson-Patman Act.

     Baldwin Hills Bldg. Material Co. v. Fibreboard Paper Prods. Corp., 283 F. Supp. 202, 204-05

     (C. D. Cal. 1968) (granting summary judgment for seller on jurisdictional grounds); see also

     Hanson, 482 F.2d at 224 (holding Robinson-Patman Act claim based on de minimis sales

     inconsistent with statute's purpose); Skinner v. U S. Steel Corp., 233 F.2d 762, 764 (5th Cir.

     1956) (same); Uniroyal, Inc. v. Hoff & Thames, Inc., 511 F. Supp. 1060, 1068-69 (S.D. Miss.

     1981) (granting summary judgment where Robinson-Patman Act claim based on de minimis

     sales); Zoslaw v. Columbia Broadcasting Syst., Inc., 1976 WL 1384, at **4-5 (N.D. Cal. 1976)

     (same).

               B. SUNCOR'S THIRD AFFIRMATIVE DEFENSE—MEETING
                    COMPETITION DEFENSE TO CLAIM I—PRICE DISCRIMINATION
                    UNDER THE ROBINSON-PATMAN ACT (15 U.S.C. 1[13).

                              1.      Burden of proof and elements.

               Plaintiffs quarrel with Suncor's "recitation of the elements of this defense," but it is not

     clear what the issue is. Resp. at 15. Suncor cited United States v. US. Gypsum 438 U.S. 422,

     451 (1978) which Plaintiffs also cite, for the elements. Resp. at 15; Suncor's Mot. at 3; FTC v.

     A.E. Staley, 324 U.S. 746, 759-60 (1945) (same elements). Plaintiffs argue that "under Suncor's

     abridged version of the meeting competition defense, any large buyer and seller could easily

     obtain immunity for price discrimination by structuring their deal as an `RFP'," implying that

     Kroger and Suncor intentionally "structur[ed] their deal as an `RFP" to avoid the Robinson-

     Patman Act. Resp. at 15. There is not one shred of evidence, and Plaintiffs have not come

     forward with any, that Kroger or Suncor structured the RFP process in such a fashion. See

     Kenfield, 837 F. Supp. 2d at 1247 (plaintiff must come forward with more than "conjecture" to

     establish an issue of fact); Witt v. Condominiums at Boulders Ass 'n, 2007 WL 840509, at *7 (D.




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     Colo. March 19, 2007) ("[p]laintiff may not simply rely on unsupported assertions, but must

     point to specific evidence establishing such a contention"). More importantly, as a legal matter,

     the "good faith" requirement would preclude the manipulation Plaintiffs conjure. See Great At!.

     & Pac. Tea Co. v. FTC, 440 U.S. 69, 82-83 (1979); Suncor's Mot. at 3.

                            2.      Elements of defense challenged by Plaintiffs.

             Plaintiffs assert that the "material factual disputes" in paragraphs A-E preclude summary

     judgment. Resp. at 16. They do not because the purported "facts" are not material and, in most

     cases, they are not even "facts." For example, Plaintiffs argue that "the undisputed facts show

     that Suncor made no effort at all to determine the pricing its competitors were offering for fuel.

     Indeed, Suncor intended to give Kroger a price so low that it would soundly beat, rather than

     meet, its competitor's bids and gave Kroger discriminatory pricing even when there was no bid

     involved." Resp. at 3 (emphasis added). These and other such assertions are "flatly contradicted

     by the ...testimony" of Suncor's and Kroger's witnesses and, thus, do not create a material issue

     of fact. Watershed, 2011 WL 4048779 at *5.

            Purported "Facts" in Paragraph A:

     (i)    Assertions of fact: No one "at Suncor discussed or even attempted to discuss with the

     Kroger entities the nature of the bids by any other suppliers." Resp. at 16. Literally, that is

     correct, but there is no requirement under any of the cases that a bidder discuss the nature of

     other bids. Indeed, to do so could stifle competition and run afoul of the purpose of the antitrust

     laws. See Great At!. & Pac. Tea Co., 440 U.S. at 83 (absolute certainty is not required); US.

     Gypsum, 438 U.S. at 453 ("nothing in the language of § 2(b) [of the Robinson-Patman Act] or

     the gloss on that language in Staley and Corn Products indicates that direct discussions of price

     between competitors are required"); id. at 454 ("good faith standard remains the benchmark




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     against which the seller's conduct is to be evaluated"); Water Craft Mgmt. LLC v. Mercury

     Marine, 457 F.3d 484, 490 (5th Cir. 2006) (finding "sufficient basis" for seller's good faith

     where competing price corroborated through knowledge of marketplace and second-hand

     information); Nat'l Dairy Products Corp. v. FTC, 395 F.2d 517, 523 (7th Cir.), cert. denied, 393

     U.S. 977 (1968) (agreeing with dissent in /7/ re Nat'l Dairy Products Corp., 70 F.T.C. 79, 99-100

     (1966), that requiring a seller to show that its prices "were the same as, or no lower, than those of

     its competitors" places an "impossible burden" on the seller and "in a dilemma where they must

     run the risk of criminal prosecution under the Sherman Act in order to protect against a charge of

     violating the Robinson-Patman Act").

            The record: To the extent this "fact" is intended to suggest that Suncor bid without any

     understanding of its competitors or the market, it is contrary to the record, as Suncor will

     demonstrate in subparagraph (ii), immediately below. Am. Family Mut Ins. Co., 2011 WL

     782574 at *9 ("single statement, devoid of context, is insufficient to carry [plaintiffs] burden").

     (ii)   Assertions of fact: "Moss had no inclination at all as to what Suncor's competitors were

     bidding ...or who was bidding." Resp. at 17 (citing Moss Dep., Exh. 3 to Resp., at 311:19-25).

     In the very next sentence, Plaintiffs assert: "In fact, while Moss had some 'inklings' as to which

     competitors were already supplying Kroger, he did not discuss those with his superiors ...

     because 'that didn't matter to [him] '—it was solely a matter of what Moss thought 'it was going

     to take to win that business'." Id. at 17 (emphasis added; citing Moss Dep., Exh. 3 to Resp., at

     312:1-313:11).

            The record: The clear impression Plaintiffs try to create is that Moss bid "blind,"

     without any regard for the competition. But that is not what Moss did or said. Plaintiffs have

     taken his testimony out of context and stop short of including his testimony, even within the




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     same series of questions and answers, which squarely contradicts the impression they try to

     create. That does not create an issue of fact. Watershed, 2011 WL 4048779 at *5•

            The pertinent part of the colloquy between Moss and Plaintiffs' counsel begins at page

     311:7 and concludes at page 314:24 of his deposition, all of which is included as part of Exhibit

     3 to Plaintiffs' Response, but most of which is not cited.

            First, Plaintiffs make a "big deal" out of the use of the word "inkling," but that is

     Plaintiffs' counsel's word, not Moss's word. Resp. at 17 (citing Moss Dep., Exh. 3 to Resp., at

     312:1-313:11). He used the word "inclination." Id.

            Second, by using the word "inldings," Plaintiffs imply that Moss only had "[a] vague idea

     or notion" about who was supplying fuel to Kroger. Resp. at 17; THE AMERICAN HERITAGE

     DICTIONARY, at 662 (2d coll. ed. 1985). That is not true. At page 312:1-313:3 of his deposition,

     in response to a question from Plaintiffs' counsel in which she used "inklings," Moss explained

     the deductive reasoning he used, "based on [his] knowledge of the market," to conclude that the

     "two most probable" suppliers were Frontier or Valero. Moss Dep., Exh. 3 to Resp., at 312:25-

     313:3. He ruled out Suncor because it "didn't have the business," and Conoco because "that

     wasn't part of their business model," leaving him with his "big competitors in this market ...

     Valero, Sinclair and Frontier." Id. at 312:1-12. Having "narrowed it down to [his] major

     competitors," he concluded it was probably Frontier because he "knew Frontier's business

     model, and that was kind of their business model." Id. at 312:12-20. Moss thought it could also

     possibly be Valero "because they didn't have a lot of stations ... and they were looking." Id. at

     312:21-24. Moss also watched the market to see who was "lifting" fuel and where they were

     delivering it. Moss Dep., Exh. B to Suncor's Mot., at 289:20-23. And, most importantly, when

     Moss bid in early 2010 in response to an RFP to supply Loaf 'N Jug with fuel, he knew (because




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     he made the bid) that Suncor had won the bid in October 2009 to supply the Dillon Companies at

     a price of OPIS rack average minus • Id. at 278:3-279:5; 280:18-281:21.

            Third, Plaintiffs assert Moss did not discuss his "inklings" with his superiors because it

     was "solely a matter of what Moss thought 'it was going to take to win that business'," citing

     pages 312:1-313:11 of Moss's deposition. Resp. at 17. Plaintiffs stop too soon. Starting in the

     very next line, Moss is asked a series of summarizing, follow-up questions. He explained the

     reason he did not discuss who might be supplying Kroger with his superiors was "because ... I

     didn't have any proof really of who was doing it.... Or how much." Moss Dep., Exh. 3 to Resp.,

     at 313:12-19. And in the very next line (line 20), Moss was asked, and Moss answered, a

     question which contradicts Plaintiffs' assertion that he was "solely" concerned with just what it

     would "take to win that business," implying he just bid low:

            Q.      So it seems like, and correct me if I am wrong, on Suncor's behalf you just bid as
                    low as you felt Suncor could go without giving consideration to what others were
                    bidding?

            A.      No-- [objection omitted]
                    No, that's incorrect. I wouldn't just put a low number out there. The way.. .1
                    approached a bid was what ... was my price, what was a competitive and fair
                    price to offer for the business based on my other customers, ... how did it match
                    up, obviously knowing in this particular case what didn't get me the business so I
                    knew the         [his losing bid in 2008 as explained below] was out. So I had to—
                    I had to find the price that I thought would get me the business but was still fair
                    for –or acceptable for Suncor. I mean, Suncor was in the business of making
                    money, so obviously I wasn't just going to go so low that, you know, it was a
                    non-profitable margin.

                   The other thing that I always did was look at what the market was. I'd go back
                   and do trends, look at what the ...market had done for the last two or three years,
                   how the prices compared, and make –you know, make as best I could a
                   professional or a guesstimate as to what I thought the market was going to do.




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     Moss Dep., Exh. 3 to Resp., at 313:20-314:24; Resp. at 17; see also Resp. at 3 ("Suncor intended

     to give Kroger a price so low that it would soundly beat, rather than meet, its competitor's bids")

     and 11-12 (trying to create the same impression).

             Earlier in the deposition, Moss had been asked why he offered Kroger a lower price in

     2009 compared to 2008. Moss Dep., Exh. 3 to Resp., at 280:11-281:10. He explained:

              A. 2008 to 2009 there was a lot of changes in our business. The pricing, the market
                   value. Plus the 2008 contract— bid proposal I did not get. I was not the winner
                   of that bid. One of my competitors got that business.

                    And the I cents pricing here pretty much reflects the change in the market on
                    what we felt we needed to do to win this business based on the fact I knew I didn't
                    --II cents did not get me the business the previous year.

     Id. at 281:14-282:3 (emphasis added).

     (iii)   Assertions of fact: Moss did not "inten[d] ... to meet the price of Suncor's

     competitor's," but came up with his own price which he "hope[d] ...was 'the best one'," citing to

     page 44:4-12 of Moss's deposition. Resp. at 17.

             The record: The impression Plaintiffs try to create is that this is how Moss bid in

     response to Kroger's RFPs. The discussion of the record above shows that is not correct. Moss

     did not just pick a number "out of the air," so to speak, and hope for the best. Plaintiffs have

     taken Moss's answer out of context and mischaracterized it. Watershed, 2011 WL 4048779 at

     *5 (mischaracterization of testimony does not defeat summary judgment). Rather than start at

     the beginning of the questioning to provide context, Plaintiffs just repeat the end, page 44:10-12.

     Starting at the beginning, however, page 43:17, shows that Plaintiffs' counsel asked Moss some

     general questions about Kroger's RFPs, including whether the RFPs laid out a price, to which

     Moss responded, "[t]here's no price point." Moss Dep., Exh. 3 to Resp., at 43:17-44:8. And

     then he was asked:




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             Q.     Okay. And you come up—each company or each supplier comes up with its own
                    price and hopes that it's the best one?

            A.      Correct.

     Id. at 44:9-12. Moss was responding to a general question about how all the companies bid.

     (iv)   Assertions of fact: Plaintiffs assert that Moss did not offer WCS the same pricing as

     Kroger because Kroger was a "'national' chain," "'a totally different company," implying that

     Suncor discriminated on the basis of size—"the classic discriminatory situation Congress meant

     to remedy." Resp. at 17 and 14. To support their argument, Plaintiffs cite to Moss's deposition,

     page 282:2-25, taking his answer out of context. A single statement, devoid of context, does not

     create an issue of fact. Am. Family Mut. Ins. Co., 2011 WL 782574 at *9•

            The record: In response to a question, Moss said he did not offer the same prices to

     WCS that he offered to Kroger because Kroger "is a totally different company with regards to

     these prices and everything." Moss Dep., Exh. 3 to Resp., at 282:4-11. A small but important

     point: Moss never referred to Kroger as a "chain," but as a "company." Id. at 282:4-25. When

     asked "[w]hy is Kroger a totally different company," Moss explained that "they only work on

     bids," "they're putting their business out," "once they give you these volumes, they lift them

     regardless," "[t]hey don't go to other companies," "[t]hey don't change their prices," "[t]hey

     only want to lift from you." Id. at 282:14-22. Moss acknowledged that Kroger was "a much

     bigger company" than WCS, but denied that Kroger's purchasing power had anything to do with

     the price—"volumes didn't play into [his] decision as to what the pricing was when [he] went

     after the business." Id. at 282:23-283:9.

            Purported "Facts" in Paragraphs B and C:

     (i)    Assertions of fact: Plaintiffs assert Suncor had a specific policy which "sets forth a

     specific format to be used to document the basis for a price differential," and that Suncor "never




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     produced the documentation required by its own competition policy," or "any other

     documentation ...even suggesting" the price Suncor gave Kroger was to meet the price of a

     competitor. Resp. at 17-18 (emphasis added) (citing Exhibit 21 to the Resp.). Plaintiffs use this

     purported, "required" policy to argue: "Had there been any effort to corroborate or evaluate

     competing prices, it must be presumed that Suncor would have followed its own published

     policies on that subject." Resp. at 21. Plaintiffs are not entitled to such a presumption because it

     is contrary to the evidence and is speculation. See Jones v. Prudential Ins. Co. of America, 2012

     WL 3868888, at *3 (D. Colo. Sept. 6, 2012) (Krieger, J.) ("belief' is not sufficient).

            The record: Suncor's "Competition Policy Guidance and Standards" is Exhibit 21 to the

     Response. At pages 17-18 of the Response, Plaintiffs quote from the Policy. However,

     Plaintiffs have combined and confused two different parts of the Policy, completely

     mischaracterizing it. "Price Discrimination and Pricing Below Cost," quoted at page 17 of the

     Response, is part of Appendix B: "United States: Federal and State Antitrust Laws" to Exhibit

     21. However, "Documentation," also quoted at page 17 of the Response and which Plaintiffs

     assert is "required," is from a wholly different section, Appendix C, entitled "Practical

     Suggestions." Suncor's Competition Policy Guidance and Standards, Exh. 21 to Resp. at 16

     (emphasis added). The "specific format," which Plaintiffs argue, is "to be used to document the

     basis for a price differential," is also from Exhibit C, "Practical Suggestions." Resp. at 17

     (emphasis added).

            The Policy, on its face, defeats Plaintiffs' argument and demonstrates their gross

     mischaracterization of the record. At pages 1-2, the Policy provides that "Suncor Personnel

     engaging in business activities in the United States are subject to Appendix B." Suncor's

     Competition Policy Guidance and Standards, Exh. 21 to Resp., at 1-2. It then states, "Appendix




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     C sets forth some practical suggestions." Id. at 2 (emphasis added). Thus, far from mandatory

     or "required," the documentation and specific format which Plaintiffs argue Moss did not follow

     and, therefore, could not have been meeting competition when he bid, are nothing but "practical

     suggestions" and are so identified in the Policy. Abeyta v. Progressive Specialty Ins. Co., 2008

     WL170535, at *5 (D. Colo. Jan. 16, 2008) ("factually misleading" arguments do not create issue

     of fact) (Krieger, J.); Cartinelle v. Napolitano, 2011 WL 2607102, at *7 (D. Colo. Apr. 6, 2011)

     (mischaracterizations of the evidence do not create issue of fact) (Boland, J.).

            As for Plaintiffs' claim that Suncor "never produced ...any ... documentation evidencing

     or even suggesting," that Suncor's price was given to meet competition, that is also contrary to

     the record. Resp. at 18. For example, Suncor attached as exhibits to its Motion various RFPs

     sent by Kroger which on their face "invite [Suncor] to provide a bid" and state that Kroger's

     "goal ... is to procure competitively priced quality service" (emphasis added). See RFPs, Exhs.

     F, I, L and Q to Suncor's Motion. At bottom, plaintiffs have done nothing to undermine

     Suncor's assertion that it bid on the Kroger RFP in good faith to obtain the business. That is all

     that is necessary to sustain the meeting competition defense. US. Gypsum, 438 U.S. 453-54

     (noting that "it is the concept of good faith which lies at the core of the meeting competition

     defense" and citing numerous cases in which the defense was recognized even though the price

     concessions were under the competition).

            Plaintiffs' arguments in Paragraph D:

            Plaintiffs' assertions of fact in Paragraphs A-C form the basis for most of their arguments

     in Section D. Resp. at 18-21. From time to time, however, in Paragraph D Plaintiffs inject some

     new assertion not raised in Paragraphs A-C which Suncor will address. Contrary to Plaintiffs'

     arguments, these assertions do not create any genuine issue of material fact. Resp. at 21.




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             1.     "Credibility of competing price information." Plaintiffs' argument in this

     subsection fails because it depends on the following mischaracterizations of the record: "Moss

     had no idea what other competitors were offering," "what other customers were or had been

     doing vis a vis Kroger 'didn't matter," Moss "vaguely considered certain market factors," and

     the "factors [he considered] related to competition and the market in general as opposed to any

     individual competitive situations." Resp. at 19 (emphasis in original). As discussed above at

     pages 23-25, Moss knew (i) Frontier and Valero were the two most probable suppliers, (ii) he

     had not gotten the bid in 2008, (iii) one of his competitors had gotten the bid, (iv) a differential

     of       was not good enough, (v) there were changes in pricing and market value between 2008

     and 2009, (vi) "what [he'd] seen in the market and who ...was lifting," (vii)        "pretty much

     reflect[ed] the change in the market," and (viii) the market trends for the last few years. Moss

     Dep., Exh. B to Suncor's Mot., at 289:17-23; Moss Dep., Exh. 3 to Resp., at 281:1-282:3; 312:4-

     314:24. And in 2010, he knew he had won the bid in 2009 by giving a price differential of.

     Id. at 281:20-21. This is more than sufficient to establish the meeting competition defense. See

     Falls City Indus. v. Vanco Beverage Co., 460 U.S. 428, 449-50 (1983) (no requirement that

     competitive situations be met on a customer-by-customer basis and noting that "[a] seller may

     have good reason to believe that a competitor or competitors are charging lower prices

     throughout a particular region").

            2.      "Suncor's past relationship with Kroger." Plaintiffs make four arguments here.

     First, they assert "[t]here was nothing in Suncor's past relationship with Kroger showing or

     suggesting that Suncor offered the discriminatory pricing to meet the equally low price of a

     competitor." Second, they assert that Kroger was not really interested in a "low bid." Third,

     they assert that "without any request from Kroger (or any consideration of what any other




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     competitors might be offering), Suncor reduced the price it had offered in 2008 by a full 1.5

     cents." Fourth, they assert that Suncor's alleged conduct of "offering considerably lower prices

     than it charged other customers ...without considering at all what competitors were offering" is

     the "type of conduct that the RPA was enacted to prohibit." Resp. at 19-20 (emphasis added).

            The record, however, contradicts each of these assertions. See Watershed, 2011 WL

     4048779 at *5 (arguments contrary to record are not acceptable).

            With respect to the "first, "third," and "fourth" arguments, Moss bid in response to an

     RFP. Exh. 0 to Suncor's Motion. As just discussed in the preceding subsection, when Moss bid

     in 2009, he had reduced the potential suppliers to two (Frontier and Valero), knew he had lost the

     bid in 2008, understood the changes in the market between 2008-09, believed the        reflected

     the changes in the market, and had reviewed the market trends. Moreover, Suncor's pricing

     differentials of SE,        and $111 were "in the range" of Kroger's contract prices with its

     other suppliers.

            As for Plaintiffs' "second" argument, Kroger always received more than one bid in

     response to its RFPs, its goal was to "buy low," and the word on the street, as Hossein Taraghi,

     WCS's owner, knew was that Kroger was shopping prices, trying to get other suppliers to supply

     them. Suncor's Mot., at 6, 10-11,      T and V; Thiessen Dep., Exh. C to Suncor's Mot., at

     19:4-8, 76:9-77:8, 83:14-17, 92:5-10; Wilson Dep., Exh. D to Suncor's Mot., at 39:13-19;

     Taraghi Dep., Exh. S to Suncor's Mot., at 162:2-163:1.

            3.      "Significance of loss if Suncor failed to meet the competing price." The essential

     argument in this subsection is that Suncor had to know its competitors' bids for the meeting

     competition defense to apply. Resp. at 20. That is not the law. Suncor's Mot., at 3-5, 1MA-C

     (discussing the law). The meeting competition defense does not require that the seller have




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     "absolute certainty" as to its competitor's lower price. Great Atl. & Pac. Tea Co., 440 U.S. at

     82-83. As the Tenth Circuit explained, "[t]he test is not actual knowledge." Covey Oil Co. v.

     Continental Oil Co., 340 F.2d 993, 998 (10th Cir.), cert. denied, 380 U.S. 964 (1965). "Good

     faith" does not require that a seller bid the exact bid as others so that the seller is not lower. See

     Great All. & Pac. Tea Co., 440 U.S. at 83; U.S. Gypsum, 438 U.S. at 453; Forster Mfg. Co. v.

     FTC, 335 F.2d 47, 55-56 (1st Cir. 1964) (overturning FTC requirement that seller had to know

     the competitor's price and its identity); Nat'l Dairy, 395 F.2d at 523 (agreeing with dissent in In

     re Nat'l Dairy Prods., 70 F.T.C. at 99-100, that requiring a seller to show that its prices "were

     the same as, or no lower, than those of its competitors" places an "impossible burden" on the

     seller and "in a dilemma where they must run the risk of criminal prosecution under the Sherman

     Act in order to protect against a charge of violating the Robinson-Patman Act").

            The defense merely requires that the bid be made in the reasonable belief that the price

     bid was necessary to obtain the business. Great Atl. & Pac. Tea Co., 440 U.S. at 83; Covey Oil

     Co., 340 F.2d at 998 "[A] seller can assert the [meeting competition] defense even if it has

     unknowingly made a bid that in fact not only met but beat his competition." Great At!. & Pac.

     Tea Co., 440 U.S. at 83. Plaintiffs' assertion that Suncor "was unaware of any competing price"

     is contrary to the record. Moss knew he had to give a discount greater than            because he had

     not won the bid at that price a year earlier and the market had changed. Moss Dep., Exh. 3 to

     Resp., at 281:14-282:3. And he knew what his winning bid was in 2009—E. Id. at 281:20-

     21.

            Plaintiffs argue that Suncor has not shown it would have suffered any loss. Resp. at 20.

     That is not correct. Prior to winning the Dillon bid in 2009, Suncor had only been supplying

     diesel for Kroger's fleet trucks and gasoline and diesel for City Markets in Grand Junction.




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     Resp. at 24, n.6; Suncor's Mot., at 3, 8, If , 0 and P. When Suncor won the Dillon bid, that

     was the first time Suncor had won a bid to supply fuel to Kroger stores outside Grand Junction.

     Suncor's Mot., at P, ¶P; Moss Dep., Exh. B to Suncor's Mot., at 118:5-13; 199:20-200:2;

     210:24-211:4; 213:1-11; and 213:23-214:1. When it won the bid to supply Loaf 'N Jug in 2010,

     that was the first time Suncor had won a bid to supply them. Moss Dep., Exh. 3 to Resp., at

     361:14-15. The Loaf 'N Jug volumes "became very large in terms of Suncor's overall business,"

     and Dillon and Loaf 'N Jug "supplanted Western as Suncor's largest unbranded customers." Id.

     at 361:6-11; Exh. 10 to Resp.; Resp. at 7. If Suncor had not won the Dillon and Loaf 'N Jug

     bids, it would not have received their business and would have suffered that loss in volumes and

     sales. Reserve Supply Corp.v. Owens Corning Fiberglass Corp., 971 F.2d 37, 48 (7th Cir. 1992)

     (rejecting argument similar to Plaintiffs' because seller would have suffered a loss of business,

     quoting from Falls City., 460 U.S. at 428).

            4.      "Suncor's efforts to corroborate or evaluate the competing price." Plaintiffs'

     arguments here are a repeat of earlier arguments. Resp. at 20-21. It is a gross

     mischaracterization of the record to assert (i) Moss had "no inlding as to whom Suncor was

     competing against or what pricing those competitors were offering"—he knew the most probable

     suppliers were Frontier or Valero and that one of his competitors had won the bid in 2008 by

     giving a discount greater than      , or (ii) that he ignored Suncor's Competition policies which,

     as previously shown, were not policies but "Practical Suggestions." See pp. 23-25, above.

            Plaintiffs' arguments in Paragraph E:

            Plaintiffs use two amendments or extensions of Suncor's underlying contracts with the

     Dillon Companies and with Loaf 'N Jug to argue that not all of Suncor's business with Kroger

     was through the bid process and, therefore, "Suncor's discriminatory pricing to Dillon and Loaf




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     'N Jug was not intended to meet competition." Resp. at 21-22. This argument is based on

     conjecture and does not defeat summary judgment. Kenfield, 837 F. Supp. 2d at 1247; Am.

     Family Mut. Ins. Co., 2011 WL 782574 at *6 (must offer more than speculation, "at the very

     least, evidence strongly refuting all plausible alternative explanations").

            Plaintiffs assert that in February 2010, "Suncor spontaneously lowered the contracted

     price" with the Dillon Companies. Resp. at 21 (emphasis added). Plaintiffs' citations to the

     record contradict this assertion. Witt, 2007 WL 840509 at *7 ("[p]laintiff may not simply rely on

     unsupported assertions but must point to specific evidence establishing such a contention");

     Jones, 2012 WL 3868888 at *3 ("belief' is not sufficient. Plaintiffs cite to Moss's deposition at

     pages 298:8-301:5, but at pages 300:25-301:1, Moss said he did not know if "we wanted to or

     whether [Kroger] wanted to" lower the price. Moss Dep., Exh. 3 to Resp., at 300:25-301:1. In

     any event, there was nothing "spontaneous" about it.

            Plaintiffs do not dispute that in October 2009, Suncor won the bid to supply the Dillon

     Companies by being the successful bidder in response to an RFP, bidding a         discount off the

     OPTS rack average. Suncor's Mot. at 8-9, ¶P. Nor do they dispute that in February 2010, Suncor

     was the successful bidder in response to an RFP to supply Loaf 'n Jug with fuel, this time

     bidding a        discount off the OPIS rack average for gasoline. Suncor's Mot. at 9-10, TR.

     The mere fact that Suncor and the Dillon Companies agreed to increase the discount by $.025

     (from $. to $M), which is the only fact Plaintiffs have presented, does not mean that the

     underlying contract does not satisfy the meeting competition defense, nor does it follow that the

     $.025 increase was not the result of a competitive situation. See Kenfield, 837 F. Supp. 2d at

     1242 ("highly ambiguous" evidence without more is insufficient to defeat summary judgment;

     court will not make a large "intuitive leap"). The only evidence in the record is that, as Moss




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     testified, either Dillon or Suncor wanted "to make all the contracts uniform." Moss Dep., Exh. 3

     to Resp., at 300:11-301:5. The Kroger personnel involved do not recall. Wilson Dep., Exh. D to

     Suncor's Mot., at 55:5-13; Thiessen Dep., Exh. C to Suncor's Mot., at 93:1-94:2.

             The same analysis applies to the contract extension that Suncor and Dillon entered into in

     October 2010 in which the discount on gasoline was reduced by $.035 (from               to       ),

     but the discount on diesel fuel increased by $.025 (from         to        ). The mere change in

     pricing, without more, does not mean the underlying contract does not satisfy the meeting

     competition defense or that Suncor's pricing "was not intended to meet competition." Contra

     Resp. at 22; see Kenfield, 837 F. Supp. 2d at 1242. The reduction in the discount was based on

     Moss's understanding of how the market had changed. Moss Dep., attached as Exh. CC, at

     318:10-16 and 321:18-20. In addition, in this contract, Suncor "lost" the Kroger business in

     Colorado Springs to another supplier, demonstrating this contract was the result of a competitive

     situation in which Suncor won and lost. Id. at 322:15-17.

            Plaintiffs' "legal" arguments in Paragraph F:

            Plaintiffs discuss briefly FTC v. A.E. Staley Mfg., 324 U.S. 746 (1945), in which the

     Supreme Court agreed with the FTC that "good faith" is the test for the meeting competition

     defense. Resp. at 22. Plaintiffs argue that "there is even more basis in this case[] to reject the

     meeting competition defense than in Staley," but that argument fails because Plaintiffs have

     mischaracterized the record. Contrary to Plaintiffs' suggestion, the Supreme Court used the facts

     Plaintiffs listed to conclude that "[w]e cannot say that the Commission's inference [of a lack of

     good faith] is not supported," but they were not the basis for denying the meeting competition

     defense. Staley, 324 U.S. at 760; Resp. at 22. The FTC found the following facts dispositive: (i)

     sellers' discriminatory prices occurred "in circumstances which strongly suggested that the




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     buyers' claims were without merit," (ii) sellers' "readiness to grant discriminatory prices without

     talking [sic] any steps to verify the existence of a lower price," and (iii) "the entire absence of

     any showing that [sellers] had taken any precaution to conduct their business in such manner as

     to prevent unwarranted discriminations in price." Id. at 759. The Supreme Court succinctly

     summarized the lesson of Staley: "[U]nsupported testimony from informants of uncertain

     character and reliability was insufficient to establish the [meeting competition] defense." Great

     Atl. & Pac. & Tea Co., 440 U.S. at 84, n.17.

             Here, unlike in Staley, there is no suggestion that Kroger lied about the prices or that

     Suncor did not attempt to verify the prices or that Suncor conducted its business without regard

     to the antitrust laws. As already shown from the record, Moss knew the most probable suppliers,

     knew that a differential of       was not sufficient, knew what his winning bid was in 2009,

     understood the market, watched the market and surveyed market trends. Moss Dep., Exh. B to

     Suncor's Mot., at 289:20-23; Exh. 3 to Resp., at 312:4-313:3, 314:3-24; pp. 23-25, above. Thus,

     to assert, as Plaintiffs do, that "there is even more basis" here than in Staley to reject the meeting

     competition defense because "Suncor gave no consideration to finding out what its competitors

     were offering" is a gross mischaracterization of the record. Resp. at 23; Watershed, 2011 WL

     4048779 at *5; Resp. at 22. And, finally, there is no evidence that Suncor conducted its business

     in disregard of the antitrust laws. The evidence is that Suncor held classes on antitrust law taught

     by the legal department for Moss and its other employees and had a published policy (Appendix

     B in Exhibit 21) to which its employees were "subject." Moss Dep., Exh. 3 to Resp., at 110:21-

     24, 111:22-24 and Exh. 21 to Resp., at 1-2.




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             Plaintiffs' legal arguments in paragraph G:

             Plaintiffs discuss Great Atlantic and three cases Suncor cited, arguing that the facts here

     are different and, therefore, Suncor cannot satisfy the meeting competition defense. Resp. at 23-

     25. Plaintiffs' arguments apply to all four cases so Suncor will discuss them together.

             First, as a matter of antitrust law, there is no checklist or template of facts that has to be

     established. The test is simply whether Suncor "acted in a reasonable and good-faith effort to

     meet its competition" and, if it did, it is "entitled to a meeting-competition defense." Great Ad

     & Pac. Tea Co., 440 U.S. at 84. Plaintiffs' arguments that the facts are distinguishable (and once

     again grossly mischaracterizing the record by calling Suncor's "practical suggestions" a

     "policy") do not defeat summary judgment. Brown v. Cooke, 2009 WL 641301, at **13-14 (D.

     Colo. March 9, 2009) (Krieger, J.) ("must come forward with specific facts showing that there is

     a genuine issue for trial;" "[e]vidence that is not significantly probative and immaterial factual

     disputes will not defeat a motion for summary judgment"); Resp. at 24.

            Second, for purposes of the RFA process, Suncor did not have a "limited relationship"

     with Kroger. Contra Resp. at 24. Their relationship went back to at least 2004 and involved

     bids that Suncor won and bids Suncor lost. Suncor's Mot., INK and L. Plaintiffs argue that the

     volumes Suncor sold in the earlier years were small, but the volumes are irrelevant and

     immaterial. Brown, 2009 WL 641301 at *14; Resp. at 24, n.6. What is material is that Suncor

     had participated for at least five years in Kroger's RFP process before it won the bid in 2009 to

     supply the Dillon Companies in Colorado. Wilson Dep., Exh. D to Suncor's Mot., at 9:5-6,

     15:7-14 and 27:8-13. In any event, Suncor need not have a relationship with a customer to meet

     competition. As long as Suncor had a good faith belief that a price concession was necessary to

     obtain the business in the first instance, it has established the meeting competition defense.




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     Sunshine Biscuits, Inc. v. FTC, 306 F.2d 48, 52 (7th Cir. 1962) (rejecting argument that meeting

     competition defense is only available for retaining existing business).

            Third, Suncor did not request that Kroger tell it the competing bid prices, but there is no

     legal requirement that Suncor make such a request and Kroger would not have told Suncor.

     Resp. at 24; Thiessen Dep., Exh. C to Suncor's Mot., at 93:1-94:2. It is unrealistic to assume

     that Kroger or any seller would divulge the other bids and courts do not require that. E.g.,

     Forster, 335 F.2d at 56 ("neither expects the other, or can be expected, to lay all his cards face

     up on the table"). Here, it is undisputed that Kroger issued RFPs regularly, others were bidding

     to supply Kroger with fuel and Kroger always received more than one bid in response to an RFT'.

     Suncor's Mot., at 6,    Wilson Dep., Exh. D to Suncor's Mot., at 9:5-6, 15:12-14 and 27:8-13;

     Thiessen Dep., Exh. C to Suncor's Mot., at 92:5-10. Even Taraghi knew that Kroger was a price

     shopper, using the bid process "to get other suppliers." Suncor's Mot., at 11,

            Fourth, as they have done before, Plaintiffs mischaracterize Moss's testimony about what

     he knew and his so-called "guesstimate." Resp. at 25-26; Watershed, 2011 WL 4048779 at *5.

            Fifth, in a footnote, Plaintiffs argue that the testimony of the Kroger witnesses is

     irrelevant and, by implication, should be disregarded. Resp. at 26, n. 8. But their testimony is

     very relevant. The Kroger testimony, particularly that Suncor's prices were "in the range" of

     Kroger's prices with its other suppliers, establishes that Moss's and Suncor's understanding of

     pricing, the market, and "what drives the market" was correct and confirms Suncor's "good

     faith" belief Resp. at 25-26; Suncor's Mot., at 7 and 10, ¶JJ and T; Ewing Dep., Exh. E to

     Suncor's Mot., at 200:3-24; Thiessen Dep., Exh. C to Suncor's Mot., at 76:9-77:8.




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             C. THE SECOND ELEMENT OF CLAIM I THAT CANNOT BE PROVEN
                  BY WCS:INJURY TO COMPETITION.

                            1.      Response to Paragraph A — Standard of Proof for Injury
                                    to Competition.

             While Plaintiffs assert that Suncor has "hopelessly confuseRIF the competitive injury

     requirement for secondary-line Robinson-Patman cases with that applicable to primary-line

     claims and non-Robinson-Patman claims, they never say how. Resp. at 27. The only thing

     Plaintiffs point to is Suncor's reliance on Brooke Group. Ltd. v. Brown & Williamson Tobacco

     Co., 509 U.S. 209, 220 (1993). Resp. at 27 n.11. The United States Supreme Court, however,

     has relied on Brooke Group in numerous antitrust cases, including its most recent decision in a

     secondary line Robinson-Patman case, Volvo Trucks N A., Inc. v. Reeder-Simco GMC, Inc., 546

     U.S. 164 (2006). See also Pac. Bell Tel. Co. v. Linkline Commc'ns, Inc., 555 U.S. 438, 440-41

     (2009) (applying Brooke Group in claim challenging an alleged "price squeeze" under section 2

     of the Sherman Act, 15 U.S.C. § 2); Weyerhaeuser Co. v. Ross-Simmons Hardwood Lumber Co.,

     549 U.S. 312, 313 (2007) (adopting Brooke Group standard for "predatory buying" case under

     section 2 of the Sherman Act, 15 U.S.C. § 2).

             Volvo Trucks quotes the same passages from Brooke Group that Suncor cites for general

     Robinson-Patman law principles. Suncor's Mot. at 12-13; Volvo Trucks, 546 U.S. at 176

     Robinson-Patman Act only prohibits price differences that threaten injury to competition), at 181

     Robinson-Patman Act is to be construed consistently with the broader principles of antitrust

     law), and at 168 (the antitrust laws protect competition, not individual competitors). Thus, it is

     not clear what Plaintiffs' disagreement is. In any event, it has no merit.5


     5
            Plaintiffs seem to be suggesting Suncor cites Brooke Group for the proposition that the
     decision overruled FTC v. Morton Salt Co., 334 U.S. 37 (1948), because the cases they cite all
     discuss that issue. Suncor did not take that position, and Plaintiffs cite nothing in Suncor's
     Motion making that argument.




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             Plaintiffs claim that they have adduced sufficient evidence to raise a triable issue of

     injury to competition because (i) they lost profits as a result of the price discrimination; and

     (ii) Suncor sold fuel to the Kroger entities at lower prices for a substantial period of time, thus

     triggering the inference of injury to competition recognized in FTC v. Morton Salt Co., 334 U.S.

     37, 46, 49-51 (1948). Neither is correct, for the reasons discussed below.

                                2.   Response to Paragraph B — Plaintiffs' Claim That the Evidence
                                     Raises a Triable Issue of Injury to Competition under the
                                     Inference Recognized in Morton Salt.

             Legal Standard: As Plaintiffs note, the Supreme Court has recognized that a secondary-

     line Robinson-Patman plaintiff raises an inference of injury to competition by showing that the

     challenged price differentials were both substantial and persisted over a lengthy period of time.

     Resp. at 28; Morton Salt, 334 U.S. at 46, 49-51; see also Falls City, 460 U.S. at 435. Plaintiffs

     cannot satisfy either element. Suncor will address Plaintiffs' arguments in the order they made

     them.

             Purported "Facts" on Persistent Price Discrimination:

             Assertions of Fact: Plaintiffs claim that the challenged price discrimination occurred

     over a 20-month period and that comparable purchases made by WCS and Kroger occurred on a

     "near-continual basis." Resp. at 29. That argument is contrary to the record. Kenfield, 837 F.

     Supp. 2d at 1239 ("party must support each assertion with citation to evidentiary material that

     establishes that fact").




             Plaintiffs also contend that Suncor "confuses" the requisite proof of injury to competition
     with the requirement to demonstrate antitrust injury. Resp. at 27 n.12. Again, Plaintiffs never
     identify what "confusion" exists. In any event, Suncor plainly noted the difference between
     injury to competition and antitrust injury in its Motion. Suncor's Mot. at 11-12 (drawing
     distinction between injury to competition and antitrust injury and citing the same case cited by
     Plaintiffs).



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             The Record: As discussed at pages 3-20, above, Plaintiffs are only entitled to pursue

     Robinson-Patman claims on those purchases that are "in commerce;" that is, the fuel sold in a

     comparable transaction must have crossed state lines. Glick/Tatos Report, Exh. A to Suncor's

     Mot. at 7-11. Plaintiffs have not made any attempt to identibi those comparable transactions

     that actually satisfy the statute's "in commerce" requirement. See S&M Materials Co. v.

     Southern Stone Co., 612 F.2d 198, 200 (5th Cir. 1980) ("in commerce" requirement delimits the

     type of transaction that can constitute a Robinson-Patman violation; "discrimination sought to be

     charged must.. .involve a transaction 'in commerce"). Plaintiffs' failure to identify such

     transactions is fatal to their claim But even if they had done that, Plaintiffs still would not have

     a triable issue of persistent price discrimination. The record facts do not support it.

            Attached as Exhibits DD - GG are charts showing the days on which WCS and Kroger

     purchased the same product from Suncor from the same terminal.6 Red squares indicate days on

     which Kroger purchased the particular product at a lower price than WCS. Green squares

     indicate days on which WCS purchased the particular product at a lower price than Kroger.

     White squares show days on which there is no comparable transaction. This pattern, which

     Plaintiffs' own experts have also found, refutes any claim that the alleged price discrimination

     persisted over time. Exh. A to Suncor's Mot. at 9-10 (finding days when WCS paid more,

     Kroger paid more or they did not purchase on the same day).

            The charts from Commerce City (referred to as "Suncor Denver" on Exhibit DD), where

     WCS made the vast bulk of its purchases from Suncor, illustrate the point. With respect to diesel

     fuel, over the entire Damage Period, Kroger and WCS made purchases on the same day 312


     6
             The charts attached as Exhibits DD-GG are summaries taken from the Suncor sales data —
     the same data used by Plaintiffs' experts in preparing a similar, but abbreviated, chart at page 10
     of their expert report, attached as Exhibit A to Suncor's Motion.



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     times. Of those, Kroger paid a lower price on 223 days and WCS paid a lower price on 89 days.

     In other words, out of 578 days in the Damage Period, Kroger and WCS bought diesel fuel on

     the same day only 53% of the time and WCS paid a lower price than Kroger on nearly 30% of

     those days.

             As the charts reveal, there is no consistency to the pricing pattern. Periods in which

     Kroger's prices were generally lower are regularly interrupted by periods in which WCS 's prices

     were lower. Moreover, there are lengthy gaps in the alleged damages period where there are no

     comparable transactions, meaning that there is no possibility that any price differentials could

     have harmed WCS 's ability to compete with Kroger or any other third party for the sale of diesel

     fuel.

             That same pattern substantially repeats itself for all products at all terminals throughout

     the putative Damage Period. For some products at some terminals, such as E-10 gasoline at the

     Grand Junction terminal, as well as virtually all purchases made at the Dupont terminal, WCS

     consistently paid a lower price than Kroger. Exlis. EE and GG, attached. In all cases, there are

     significant periods in which there are no comparable transactions. Far from demonstrating a

     durable, day-to-day price disadvantage for WCS, the undisputed price evidence, which Plaintiffs'

     own experts acknowledge, shows that Kroger sometimes bought at a lower price than WCS,

     WCS sometimes bought at a lower price than Kroger and, for extended periods, there were no

     comparable transactions at each terminal. Exh. A to Suncor's Mot. at 9-10.

             Such evidence falls far short of the persistent price differentials necessary to raise an

     inference of injury to competition under Morton Salt. In fact, Plaintiffs' own cases undermine

     their argument. In each of the cases they cite, there were significant, entrenched and

     uninterrupted price differentials favoring one buyer on all comparable purchases over sustained




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     periods. Resp. at 29-30. In Coastal Fuels, 79 F.3d at 193, for example, the court described the

     price differentials as "continuous" and "lasting all 18 months that [the plaintiff] was in business."

     Furthermore, the price differentials "always exceeded the five cents per barrel that witnesses

     testified was competitively significant." 79 F.3d at 193. In Rose Confections, Inc. v. Ambrosia

     Chocolate Co., 816 F.2d 381, 387 (8th Cir. 1987), the price differentials persisted over a 27-

     month period with no evidence that the plaintiff ever received a more favorable price than the

     competing buyer. Finally, in Foremost Diaries, 348 F.2d at 679, the price differentials persisted

     over a two-year period. Again, nothing in the evidence recited in Foremost Diaries suggests that

     disfavored buyers ever received a better price than the favored buyer. 348 F.2d at 679 (noting

     that defendant "did not offer comparable price advantages to its independent customers"); see

     also Stelwagon Mfg. Co. v. Tarmac Roofing Sys., 63 F.3d 1267, 1272-73 (3d Cir. 1995) (price

     discrimination in effect for at least a three-year period with no evidence of interruption or sales

     to plaintiff at favored prices). By contrast, any price differentials favoring Kroger were

     comparatively sporadic and often interrupted by periods in which WCS received a favored price

     or in which there were no comparable transactions that could have possibly affected competition.

            In short, the undisputed pricing evidence, relied on by Plaintiffs' own experts, refutes the

     notion that the alleged price discrimination persisted over a substantial period of time. That

     failure alone is sufficient to defeat Plaintiffs' claim of injury to competition under the Morton

     Salt inference.

            Purported "Facts" on Substantial Price Discrimination:

            Assertions of Fact: Plaintiffs claim that the alleged price discrimination over all

     purchases made by Plaintiffs and Kroger averaged         cents per gallon of fuel throughout the

     entire Damage Period. On that basis, Plaintiffs claim that there is sufficient evidence to raise a




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     triable issue on the substantiality of the challenged price differentials. Resp. at 31-32 (citing

     Exh. A to Suncor's Mot. at 9; Exh. Z to Suncor's Mot. at 6; Exh. 1 to Resp. at ¶9; Exh. 23 to

     Resp. at ¶J 2-4)

            The Record: In calculating the per-gallon average of the alleged price discrimination,

     Plaintiffs have, once again, failed to identify which comparable transactions from each terminal

     involved fuel that crossed a state line. Instead of segregating those relevant sales, Plaintiffs

     simply aggregated all the transactions over the entire Damage Period and then averaged the price

     differences for those days where WCS actually paid a higher price than Kroger. 7 Moreover, for

     mid-grade gasoline, Plaintiffs' experts did not use an actual transaction price (because there were

     so few) but created their own price by using weighted average prices for regular and premium

     gasolines. Exh. A to Suncor's Mot., at 7 n.12. On that basis, WCS concludes that it paid an

     average of.' cents more for fuel, per gallon than Kroger for fuel making the price

     discrimination "substantial" for purposes of the Morton Salt inference. Resp. at 30-31; (Exh. Z

     to Suncor's Mot. at 6; Exh. 23 to Resp. at 72-4) It is not. The Supreme Court rejected this kind

     of results-oriented, manipulative mixing-and-matching of data in Volvo Trucks. There, the

     plaintiff alleged that Volvo had granted greater price concessions to some Volvo dealers than to

     others. The evidence at trial consisted of various price concessions on transactions that were not

     comparable. It was those non-comparable transactions that the plaintiff used to assert injury to

     competition under Morton Salt. The Supreme Court rejected that effort, declining "to permit an



     7
             As the report of Plaintiffs' experts concedes, on a number of occasions, WCS actually
     paid a lower price for fuel than Kroger. Rather than including those days in which WCS actually
     had a price advantage in their calculations of the average prices to WCS and Kroger, Plaintiffs'
     experts simply ignored them. Glick/Tatos Report, Exh. A to Suncor's Mot., at 19 n. 30 ("We
     have been asked to calculate what additional profits, if any, WCS would have received"
     (emphasis added)).



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     inference of competitive injury from evidence of such a mix-and-match, manipulable quality."

     Volvo Trucks, 546 U.S. at 178.

             Plaintiffs have done that here. They have "mixed and matched." In calculating the II

     cents average price differential, Plaintiffs' experts have not systematically compared those

     transactions that they assert are comparable and determined the average price differences on

     those transactions. They have not confined their calculations to transactions that are "in

     commerce." And they have excluded comparable transactions when the price differential favors

     WCS. Exh. A to Suncor's Mot. at 19 n. 30. Such misuse of data does not raise an inference of

     competitive injury under Morton Salt. Volvo Trucks, 546 U.S. at 179 (plaintiffs mix-and-match

     evidence fails to raise inference of competitive injury under Morton Salt).

                            3.      Response to Paragraph C — Plaintiffs' Claim That the
                                    Evidence Raises a Triable Issue of Injury to Competition
                                    Based on Lost Profits.

            Assertions of Fact: Having failed to satisfy the Morton Salt inference, Plaintiffs claim

     that they have raised a triable issue of injury to competition because they have shown lost profits

     resulting from the price discrimination. They base this assertion on their experts' damages

     calculation and on a snippet of deposition testimony from Ed Sharpe, the Director of Petroleum

     for Loaf 'N Jug, who, according to Plaintiffs, testified that Kroger would expect to be

     competitively injured if it had received unfavorable discriminatory wholesale prices. Exh. A to

     Suncor's Mot.; Resp. at 32; and Exh. 12 to Resp. at 5:3-5.

            The Record: Although Suncor's principal disagreements with Plaintiffs on these points

     are primarily legal, one factual assertion must be corrected. Once again, Plaintiffs'

     characterization of the evidence does not match what the record actually says. Contrary to

     Plaintiffs' description, Mr. Sharpe said nothing about "discriminatory" wholesale prices or

     injuries flowing from them. The full excerpt of the testimony Plaintiffs cite is as follows:



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                    Q.      And in terms of the inputs that you've mentioned and in
                            particular wholesale pricing, if there's a situation where your
                            wholesale prices keep going up, I mean, it's inevitable that your
                            price is going to go up, right?

                    A.      That's what wholesale price means.

                    Q.      Right.

                    A.      If your wholesale goes up, your price goes up.

                    Q.      Right, okay.

                    A.      Your cost.

                    Q.      Your cost, right. When we say the wholesale price —

                    A.     Cost.

                    Q.     - it's your cost.

                    A.     Right.

                    Q.     So when your costs are going up, you don't have a lot of
                           alternative, recognizing a lag time, but to have your retail price
                           follow. Correct?

                    A.     Correct.

                    Q.     And if that wholesale price is a disadvantageous wholesale
                           price, higher than your competitors', then you're at a
                           competitive disadvantage, right?

                    A.     Yeah, I would assume, yes.

     Sharpe Dep., Exh. 12 to Resp., at 46:7-47:6. Mr. Sharpe said nothing about Kroger suffering an

     injury of the type actionable under the Robinson-Patman Act. More important, he said nothing

     about lost profits that may have been suffered by WCS. Much of the testimony does nothing

     more than repeat bromides that are virtually tautological — e.g., when wholesale prices go up, the

     buyer's costs increase. This testimony does not support the proposition for which Plaintiffs cite

     it and thus has no bearing on whether they have adduced evidence raising a triable issue of injury




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     to competition. Am. Family Mut. Ins. Co., 2011 WL 782574 at *8 (cannot defeat summary

     judgment "overstat[ing] the significance" of witness statement).

             Plaintiffs' characterization of the testimony aside, their lost profits argument fails for

     legal reasons. To show competitive injury flowing from lost profits, WCS must elicit direct

     evidence that it lowered its prices in response to lower retail prices offered by Kroger or that

     sales were diverted from WCS stores to Kroger stores as a result of the alleged price

     discrimination. Rose Confections, 816 F.2d at 385 ("plaintiff may introduce direct evidence that

     disfavored competitors lost sales or profits as a result of the discrimination") (emphasis added);

     see also Falls City, 460 U.S. at 437-38 (citing direct evidence of disfavored buyer's lost sales

     and profits). Direct evidence is evidence that requires no inference or presumption. Twigg v.

     Hawker Beechcrafi Corp., 659 F.3d 987, 1000 n.8 (10th Cir. 2011) ("The term 'direct evidence,'

     properly understood, refers to a narrow category of 'evidence, which if believed, proves the

     existence of a fact in issue without inference or presumption.') (quoting Hall v. U.S. Dep't of

     Labor, 476 F.3d 847, 854 (10th Cir. 2007) (internal quotation marks omitted).

             Aside from the Sharpe testimony, which has no bearing on whether WCS lost profits at

     any store, the only other evidence Plaintiffs cite in support of their position is the report of their

     experts, which purports to calculate the amount of damages suffered by WCS. Resp. at 31-32

     (citing "a statistical analysis" done by Plaintiffs' experts purportedly showing a significant

     statistical relationship between the price discrimination and WCS's profits at 26 stores). That

     expert report is not direct evidence of any lost sales or profits. McCleskey v. Kemp, 753 F.2d

     877, 888 (11th Cir. 1985) ("In evidentiary terms, statistical studies based on correlation are

     circumstantial evidence. They are not direct evidence."); see also Brown v. Nucor Corp., 576




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     F.3d 149, 153, 156-57 (4th Cir. 2009), cert. denied, 130 S. Ct. 1720 (2010) (drawing distinction

     between statistical evidence and direct evidence).

             On its face, the expert report does not purport to attempt to establish a causal connection

     between WCS's profits and the price discrimination. Plaintiffs' experts, in effect, disclaim any

     personal knowledge of WCS 's business or pricing practices. They consistently lace their report

     with qualifiers making clear that they personally did not do anything to establish a causal

     connection between the alleged price differences and any injury to WCS, but instead relied on

     representation from WCS. See, e.g., Glick/Tatos Report, Exh. A to Suncor's Mot., at 14

     ("According to WCS," WCS typically attempts to follow a price reduction by Kroger) (emphasis

     added); id. at 15 ("According to WCS, at Store 135 WCS attempts to set a price equal to three

     cents below the street price") (emphasis added). Furthermore, WCS never identifies a single lost

     customer or single specific instance in which it lowered prices in response to a price reduction

     from Kroger. Cf. Falls City, 460 U.S. at 437-38 (identifying specific customers that lost sales or

     profits); Rose Confections, 816 F.2d at 385-86 (same). Plaintiffs' expert report, therefore, is not

     direct evidence of any lost sales or profits flowing from the putative price discrimination. Thus,

     Plaintiffs have not adduced evidence sufficient to raise a triable issue of injury to competition on

     this basis. Having failed either to satisfy either this test or to adduce evidence sufficient to

     trigger the Morton Salt inference, Plaintiffs necessarily have failed to raise a triable issue of

     injury to competition. Accordingly, Suncor is entitled to summary judgment on its Robinson-

     Patman claim.

                            4.      Response to Paragraphs D and E.

            Finally, Paragraphs D and E of Plaintiffs' Response gloss over two additional problems

     with their competitive injury evidence. Plaintiffs spend much of Paragraph D conjuring

     arguments that Suncor did not make and then rebutting these strawmen. That discussion is



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     irrelevant. Having failed to cite evidence sufficient to raise the Morton Salt in the first instance

     or any direct evidence of lost profits, Plaintiffs have not raised a triable issue of injury to

     competition.

             Suncor's remaining point is straightforward — Plaintiffs have misconstrued the concept of

     injury to competition under the Robinson-Patman Act. The entirety of Plaintiffs' argument and

     evidence on injury to competition relates solely to injuries supposedly suffered by WCS. But as

     Suncor noted, "Nile naked demonstration of injury to a specific competitor without more is not

     sufficient to show that a price discrimination 'may' substantially lessen competition; the test

     must always focus on injury to competition." Motive Parts Warehouse v. Facet Enters., 774

     F.2d 380, 395 (10th Cir. 1985) (emphasis in original); Suncor's Mot. at 12-13.

             Plaintiffs' Response suggests that the Tenth Circuit does not mean what it says and that a

     reading of Motive Parts Warehouse requiring injury to competition generally — rather than injury

     to a specific competitor — would somehow be inconsistent with the congressional purpose

     underlying the Robinson-Patman Act. Resp. at 38. In fact, Plaintiffs hint that there is something

     irrational about the Tenth Circuit's holding in Motive Parts Warehouse, suggesting that the

     decision is inconsistent with the Morton Salt inference. Resp. at 38 n.20. But it is Plaintiffs'

     argument that misses the mark. Contrary to their assertions, Morton Salt does not create any

     "presumption," but rather merely an inference that competition may be harmed by price

     discrimination. Id. That inference is rebuttable, Falls City, 460 U.S. at 435; Boise Cascade

     Corp. v. FTC, 837 F.2d 1127, 1144 (D.C. Cir. 1988) (holding that "a sustained and substantial

     price discrimination raises an inference, but it manifestly does not create an irrebuttable

     presumption of competitive injury" and a "[s]pecific, substantial evidence of absence of

     competitive injury is. . . sufficient to rebut what is, after all, only an inference") (internal




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     citations omitted), and may be unreasonable in light of other evidence put before a court. Cf

     Matsushita Elec. Indus. Corp., Ltd. v. Zenith Radio Corp., 475 U.S. 574, 587 (1986) (in Sherman

     Act context, noting that when an antitrust claim "makes no economic sense," a plaintiff must

     adduce "more persuasive evidence.. .than would otherwise be necessary" to survive summary

     judgment); see also id. at 588 (noting that substantive antitrust law limits the range of

     permissible inferences that may be drawn from ambiguous evidence in cases under section 1 of

     the Sherman Act, 15 U.S.C. § 1). Nothing in the holding in Motive Parts Warehouse is at odds

     with Morton Salt.

            The Supreme Court has recognized that, when competition in the marketplace as a whole

     remains robust, even when there is some differential pricing, no inference of harm to competition

     arises under the Robinson-Patman Act. Volvo Trucks, at 546 U.S. at 181 (noting that the Court

     "would resist interpretation geared more to the protection of existing competitors than to the

     stimulation of competition") (emphasis in original); see also Boise Cascade, 837 F.2d at 1144

     (Morton Salt inference may be overcome "by evidence showing an absence of competitive injury

     within the meaning of Robinson-Patman") (emphasis in original); Richard Short Oil Co. v.

     Texaco, 799 F.2d 415, 420 (8th Cir. 1986) ("analysis of the injury to competition [under the

     Robinson-Patman Act] focuses on whether there has been a substantial impairment to the vigor

     or health of the contest for business, regardless of which competitor wins or loses").

            Here, there is no doubt that competition in the retail sale of gasoline and diesel fuel is

     robust. Plaintiffs not only concede the fact but affirmatively embrace it. Resp. at 7 ("The retail

     market for Fuel has always been highly competitive, with a significant portion of consumers

     making purchasing decision based on small differences, i.e., one to two cents per gallon, in the

     retail prices for Fuel."). As Taraghi testified, numerous retailers, including Bradley, Diamond




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     Shamrock, 7-Eleven, Sam's Club, Safeway, and a host of others sell gasoline in competition with

     WCS stores. Taraghi Dep., Exh. S to Suncor's Mot., at 41:6-45-10, 123:17-25. Every one of

     the 26 stores for which WCS claims damages competes with several retailers according to

     WCS's own pricing surveys. Glick/Tatos Affidavit, Exh. 27 to Resp., ¶1110, 14; Richard Short

     Oil Co., 799 F.2d at 420 (inference of injury to competition overcome by evidence of multiple

     sellers in the market). There is no evidence that the alleged price discrimination reduced output,

     raised prices to consumers or otherwise harmed the competitive process in any fashion. There is

     no evidence that Kroger possesses market power. See Volvo Trucks, 546 U.S. at 181 (noting that

     no favored buyer in the case "possesses market power"). Indeed, such a claim would be

     frivolous, for Kroger sells only 11% of the gasoline in the Denver metropolitan area and WCS

     sells even less. Griffin Rep., Exh. 24 to Resp., ¶14; Jefferson Parish Hosp. Dist. No. 2 v. Hyde,

     466 U.S. 2, 26-27 (1984) (market share of less than 30% does not raise inference of market

     power as a matter of law). In short, there is no evidence that the price discrimination has had any

     deleterious effect on competition in any fashion. WCS's case consists of entirely of a claim that

     it alone was injured by the alleged price discrimination.8 As the Tenth Circuit made clear in




     8        Plaintiffs claim their experts were not required to account for competition from other
     sellers in making their damages calculations, contending that it only need show that the price
     discrimination was a "material cause" of its damages to recover. Resp. at 37. This argument
     also misses the point. Plaintiffs' refusal to take competition into account in calculating damages
     manifests the incoherence of their case theory. On the one hand, this Court is told that the retail
     gasoline business is "highly competitive" and that small price differences can alter purchasing
     decisions. Id. at 7. On the other, when it comes to quantifying WCS's supposed injuries,
     Plaintiffs erect a model that assumes that WCS only competes against Kroger and that no other
     seller in the marketplace have any impact on purchasing decisions or market prices. See
     Glick/Tatos Report, Exh. A to Suncor's Mot., at 17 (listing variables used in Plaintiffs' experts'
     regression analysis for calculating damages but including no variable for competition from third
     parties); Griffin Report, Exh. 24 to Resp., 11110-18 (unrebutted opinion noting that, contrary to
     the undisputed facts, the Plaintiffs'damages calculation postulates a "binary world" in which
     Kroger and WCS are the only gasoline and diesel retailers). The incongruence between



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     Motive Parts Warehouse, that evidence, even if credited, is not enough to establish competitive

     injury under the Robinson-Patman Act.

             D. PLAINTIFFS CANNOT PROVE THE ELEMENTS OF CLAIM VI
                  (VIOLATION OF SECTION 6-2-108 OF THE COLORADO UNFAIR
                  TRADE PRACTICES ACT).

             As explained in Suncor's Motion, WCS has no claim for violation of C.R.S. § 6-2-108,

     which forbids "[t]he secret payment or allowance of rebates, refunds, commissions, or unearned

     discounts" to the injury of a competitor and that tends to destroy competition. In its Response,

     Plaintiffs urge the Court to ignore Colorado law and instead adopt California law, specifically,

     the interpretation of California's "secret discount" statute by California courts. Resp. at 57-66.

     The Court should follow Colorado law—not California law—and grant Suncor summary

     judgment on Plaintiffs' Sixth Claim for Relief.

                    1.     Section 6 2 108 Does Not Apply to Suncor's Agreement with Kroger.
                                     -   -




            Plaintiffs bring a price discrimination claim under C.R.S. § 6-2-108, which is not a price

     discrimination statute. The term "price" is not used in Section 6-2-108, which concerns only

     "discounts." "Discount" generally means "[a] reduction from the full amount or value of

     something, esp. a price." Suncor's Mot. at 30 (quoting BLACK'S LAW DICTIONARY (9th ed.

     2009)). The terms used by the General Assembly in C.R.S. § 6-2-108—"rebates," "refunds,"

     "commissions," and "discounts"—are all reductions from a predetermined value. In light of

     these terms, "discount" cannot be read to include "price." See Noyes Supervision, Inc. v.

     Canadian Indem Co., 487 F. Supp. 433, 437 (D. Colo. 1980) (interpreting statutory terms

     consistently under doctrine of ejusdem generis).




     Plaintiffs' theory of competitive harm and their alleged antitrust injury is yet another reason to
     dismiss this case.



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             Moreover, "discount" should not be interpreted to include "price" because the Colorado

     Unfair Trade Practices Act contains a different provision, C.R.S. § 6-2-103, that specifically

     forbids anti-competitive price discrimination. See Dunlap v. Colo. Springs Cablevision, Inc.,

     855 P.2d 6, 7 (Colo. App. 1992) (recognizing C.R.S. § 6-2-103 "prohibits certain anticompetitive

     discriminatory pricing structures"). Plaintiffs concede that C.R.S. § 6-2-103 does not apply in

     this case, since "it is intended to apply whenever a business charges different prices to purchasers

     based on geographic differences with an intent to drive out competition in one geographic area."

     Id. at 8; see also Resp. at 61-64 (conceding C.R.S. § 6-2-103 does not apply). Interpreting

     C.R.S. § 6-2-108 as a price discrimination statute would defeat the express limitation of the

     Colorado Unfair Trade Practices Act to only geographic price discrimination. See Dunlap, 855

     P.2d at 7; see also Fincher ex rel. Fincher v. Prudential Prop. & Cas. Ins. Co., 2008 WL

     901534, at *2 (D. Colo. Mar. 31, 2008), aff d, 374 Fed. App'x 833 (10th Cir. 2010) (interpreting

     Colorado statute "in a way that best effectuates the purpose of the legislative scheme").

            This case is about different prices, not discounts. Kroger did not receive "rebates" or

     "discounts" from Suncor; instead, Suncor calculated Kroger's price in a contractually-negotiated

     manner that was different from the manner negotiated by WCS. See Moss Dep. Exh. B to

     Suncor's Mot., at 48:12-25. WCS's personnel uniformly agree that, in the industry, "discount" is

     a term of art that means either the cents-per-gallon adjustment to the rack price, or an additional

     "off-contract" discount. At his deposition, Taraghi agreed that "discount" was simply "the cents

     off [the rack price] that appears in the contract," as opposed to a "special discount or off contract

     discount," which constituted an independent reduction in the price. Taraghi Dep., Exh. 2 to

     Resp., at 5:19-6:3. WCS's fuel manager, Christopher Wehrle, likewise acknowledged that

     "discount" was the "rack minus something" agreed to in the contract, whereas an "off contract




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     discount" was "something special in addition." Wehrle Dep., Exh. BB, at 5:9-18. Angelia Reay,

     a former WCS employee responsible for negotiating with Suncor, agreed that the rack-minus

     pricing "is what we call a discount" in the industry, but that this was different from an off-

     contract, actual discount off the negotiated contractual price. Reay Dep., attached as Exh. HH, at

     6:19-7:14. There is no evidence that Suncor gave Kroger an "off-contract" special discount—it

     simply calculated Kroger's price in a different way. See Moss Dep. Ex. B to Suncor's Mot., at

     48:12-25.

            None of the California cases relied upon by Plaintiffs involved a difference in price.

     Resp. at 59-61. Indeed, these cases confirm that a "discount" for purposes of the statute is a

     reduction to a set price or similar arrangement that was offered to one party but not another. See,

     e.g., Western Pac. Kraft, Inc. v. Duro Bag Mfg. Co., 794 F. Supp. 2d 1087, 1090 (C.D. Cal.

     2011) (seller lowered prices through alleged "secret rebates"); ABC Intl Traders, Inc. v.

     Matsushita Elec. Corp., 931 P.2d 290, 292 (Colo. 1997) (seller offered favored purchaser five

     percent discount); Eddins v. Redstone, 35 Cal. Rptr. 3d 863, 869-70 (Cal. Ct. App. 2005) (seller

     employed revenue-sharing system with favored purchaser); Diesel Elec. Sales & Serv. v. Marco

     Marine San Diego, Inc., 16 Cal. App. 4th 202, 208-09 (Cal. Ct. App. 1993) (seller offered

     quantity discount to favored purchaser).

            Plaintiffs have presented no legal authority and no evidence to support their contention

     that the different prices received by Kroger and WCS constituted a "secret discount" for

     purposes of C.R.S. § 6-2-108. The Court should enter summary judgment on Plaintiffs' claim.

                    2.     Section 6 2 108 Applies Only to Primary Line Claims.
                                     -   -                              -




            Plaintiffs ignore the plain language of C.R.S. § 6-2-108, which forbids secret rebates or

     discounts "to the injury of a competitor." (Emphasis added). By its plain language, C.R.S. § 6-




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     2-108 applies to competitors of the seller offering the allegedly secret rebate or discount (i.e.,

     "primary-line claims"), not to competitors of the purchaser (i.e., "secondary-line claims"). See

     Echo Acceptance Corp. v. Household Retail Serv., Inc., 267 F.3d 1068, 1078 (10th Cir. 2001)

     (holding Colorado statutes must be interpreted reasonably based on plain language). The Court

     reached the same conclusion in Venta, Inc. v. Frontier Oil & Refining Co., 827 F. Supp. 1526,

     1529 (D. Colo. 1993), which interpreted similar language to hold that C.R.S. § 6-2-103 was

     limited to primary-line claims. See also Resp. at 61 (conceding Venta limited scope of C.R.S. §

     6-2-103 to primary-line claims.).

             To extend the scope of C.R.S. § 6-2-108, Plaintiffs urge the Court to adopt the reasoning

     of the California Supreme Court in ABC International Traders, 931 P.2d 290. In ABC, the court

     held that California's secret discount statute extended to secondary-line claims. See 931 P. 2d at

     295. ABC acknowledged that its decision was contrary to "Wudicial and academic writers"

     interpreting the secret discount statute. See id. at 293. Nevertheless, the court believed that the

     lack of "further... restrictive language" meant that the statute was not limited to primary-line

     claims. Id. at 294 (emphasis added).

             The dissent in ABC harshly criticized this analysis: "Given the ordinary rules of English

     usage, this prohibition is implicated only by competitive injury to a competitor of the one

     prohibited." Id. at 305 (Brown, J., dissenting) (emphasis added). "By reading the language... as

     referring to competitors of those who receive prohibited price discounts, the majority introduces

     into the statute an ambiguity that is not present if the words are taken to mean what they say."

     Id. (emphasis in original). The dissent also challenged ABC's dubious recitation of the purpose

     of the statute, noting that, with rare exception, no court in the sixty-year history of the statute had

     applied the secret discount statute to secondary-line claims. Id. at 305-306.




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             Colorado courts are unlikely to follow the ABC majority opinion. In Colorado, as in the

     federal courts, statutes are interpreted based on their plain language, and courts will not add or

     subtract words from a statute. See Dean v. United States, 556 U.S. 568, 572, cert. denied, 129

     S.Ct. 2155 (2009) ("[W]e ordinarily resist reading words or elements into a statute that do not

     appear on its face."); Turbyne v. People, 151 P.3d 563, 567 (Colo. 2007) ("When construing a

     statute... [w]e do not add words to the statute or subtract words from it."). Here, the plain

     language of C.R.S. § 6-2-108 is unambiguous: secret discounts are impermissible in order to

     protect competitors of the seller, not the purchaser, from anticompetitive injury. See C.R.S. § 6-

     2-108 (forbidding secret rebates or discounts "to the injury of a competitor" (emphasis added)).

     No Colorado court has either adopted ABC or suggested that its reasoning would apply to

     Section 6-2-108. The Court should follow the reasoning of Venta, not ABC, and hold that C.R.S.

     § 6-2-108 applies only to primary-line claims. On this basis, Suncor is entitled to summary

     judgment on WCS's Sixth Claim for Relief.

                   3.       Plaintiffs Must Demonstrate that WCS Intended to Destroy
                            Competition.

            Plaintiffs acknowledge that the Colorado Court of Appeals has held that a party suing

     under C.R.S. § 6-2-108 must show the seller's intent to destroy competition. See Resp. at 62

     (citing Beneficial Fin. Co. of Arvada v. Sullivan, 534 P.2d 1226 (Colo. App. 1975)).

     Nevertheless, Plaintiffs urge the Court to reject Colorado law and instead apply California law.

     The Court should decline to do so.

            First, while Plaintiffs claim that Beneficial Finance "is not binding precedent" (Resp. at

     62), Plaintiffs cite to cases that faithfully considered and applied the holding or reasoning of the

     Colorado Court of Appeals. See Grynberg v. Total S.A., 538 F.3d 1336, 1354 (10th Cir. 2008),

     cert. denied, 129 S.Ct. 1585 (2009) (following Colorado Court of Appeals' decision in light of




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     absence of contrary authority from Colorado Supreme Court); Pompa v. State Farm Mut. Auto.

     Ins. Co., 520 F.3d 1139, 1145 (10th Cir. 2008) (noting lack of Colorado authority on point, but

     following Court of Appeals opinion); Clark v. State Farm Mut. Auto. Ins. Co., 433 F.3d 703,

     713-14 (10th Cir. 2005) (following Court of Appeals opinion); see also Fransen v. Conoco, Inc.,

     64 F.3d 1481, 1492 (10th Cir. 1995), cert. denied, 516 U.S. 1166 (1996) (following opinion of

     intermediate court). Contrary to Plaintiffs' assertion, the Tenth Circuit "will not disregard an

     intermediate state court's decision unless... convinced by other persuasive data that the highest

     court of the state would decided otherwise." Grynberg, 538 F.3d at 1354 (citation and internal

     quotation omitted).

            Second, Plaintiffs offer no "persuasive data" suggesting that Beneficial Finance was

     decided incorrectly. Indeed, Plaintiffs acknowledge that "intent is a required element in general

     under the Unfair Practices Act." Resp. at 63 (emphasis in original). Beneficial Finance applied

     this general rule to C.R.S. § 6-2-108, concluding that intent is a necessary element to claims

     based on "secret discounts" in violation of the Act. While Plaintiffs downplay this holding as

     "without analysis," in fact Beneficial Finance cites to the Colorado Supreme Court's opinion in

     Olin Mathieson Chemical Corp. v. Francis, 301 P.2d 139 (Colo. 1956), which explains clearly

     why intent is critical. Olin was concerned that a rule of strict liability under the Unfair Trade

     Practices Act, without regard to whether the defendant intended to injure competition, would be

     contrary to the public welfare and even unconstitutional. See Olin, 301 P.2d at 174 (citing

     Perkins v. King Soopers, Inc., 221 P.2d 343, 345 (Colo. 1950). Intent applies to C.R.S. § 6-2-

     108 with equal force: there is nothing per se invalid about a seller offering rebates or discounts.

     The harm comes from such rebates or discounts intending to destroy competition. See id.

     Beneficial Finance, therefore, is consistent with Colorado Supreme Court precedent.




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             Third, there is no reason to reject Beneficial Finance in favor of following the opinion of

     the California Court of Appeals, as Plaintiffs urge. Plaintiffs rely upon the holding in Diesel

     Electric, 16 Cal. App. 4th at 208-09, where the California Court of Appeals declined to apply an

     intent element to California's secret discount statute. Plaintiffs ignore, however, the reasoning of

     Beneficial Finance and Olin that supports an intent requirement: the purpose of the Unfair Trade

     Practices Act is to deter anticompetitive conduct, not to fix prices or preclude discounts.

     Consistent with this purpose, as well as the limits of the legislature's policy power, Colorado

     courts have required the showing of intent. While California may take a different view (as

     evidenced by the Court's ABC opinion), that is not Colorado law. See Olin, 306 P.3d at 179,

     Perkins, 221 P.2d at 345.

                    4.      Plaintiffs Offer Only Argument, Not Evidence, of Suncor's Supposed
                            Intent to Destroy Competition.

            Plaintiffs claim that they can present evidence of Suncor's intent to destroy competition

     sufficient to create a triable issue. Resp. at 65-66. In fact, Plaintiffs present only argument and

     inferences from the record, not evidence. "Highly ambiguous" proof that requires an "intuitive

     leap" is insufficient to withstand summary judgment. Kenfield, 837 F. Supp. 2d at 1242-47.

            The only evidence that Plaintiffs offer of Suncor's intent to destroy competition is the

     fact that Suncor operates retail stores that compete with WCS. Resp. at 65-66. Plaintiffs ask that

     the Court infer from this that Suncor "knew or should have known that" its pricing "would harm

     competition in general and competition with Western in particular." Id. at 66.

            Not only is Plaintiffs' inference merely conjecture, but it is meritless. Plaintiffs are

     claiming that Suncor purposefully assisted Kroger, a competitor in the retail gasoline market, by

     offering it a lower price than given to WCS, another competitor in the retail gasoline market, in

     order to benefit Suncor in the retail gasoline market. Plaintiffs cannot explain how Suncor




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     intended to destroy one competitor by favoring another. In Beneficial Finance, the court

     affirmed the dismissal of claims under C.R.S. § 6-2-108 where the only evidence of intent was

     the fact that the plaintiff and defendant were competitors. See 534 P.2d at 1228-29. As in

     Beneficial Finance, the inference of intent is so unsupported that the Court should grant

     summary judgment on Plaintiffs' claim for violation of C.R.S. § 6-2-108 as a matter of law. See

     id.

                    5.      Q-T Markets Remains Good Law, and Plaintiffs Have No Private
                            Right of Action Under C.R.S. 6-2-108.

            Plaintiffs concede that C.R.S. § 6-2-108 does not expressly provide parties a private right

     of action for violation of the statute. Resp. at 55. Plaintiffs also concede that the federal court in

     Q T Markets, Inc. v. Fleming Cos., 394 F. Supp. 1102 (D. Colo. 1975) unequivocally held that
       -




     C.R.S. § 6-2-108 is not subject to C.R.S. § 6-2-109, which declares contracts in violation of

     "sections 6-2-103 to 6-2-108" to be illegal. Resp. at 55-56 (discussing Q T Markets, 394 F.
                                                                                 -




     Supp. at 1107). As explained in Q T Markets, the use of the word "to" in C.R.S. § 6-2-109
                                         -




     expressly excludes C.R.S. § 6-2-108. See 394 F. Supp. at 1107. Like Section 6-2-109, C.R.S. §

     6-2-111 only recognizes a private right of action for violations of "section 6-2-103 to 6-2-108."

            Sections 6-2-108, -109 and -111 have not been amended since 1975. Nevertheless, WCS

     contends that Q T Markets was "statutorily overruled" when the Colorado General Assembly
                     -




     enacted a canon of construction expressing a different view of the use of the word "to" in

     statutes. Resp. at 55 (citing C.R.S. § 2-4-113). It is undisputed, however, that Q T Markets
                                                                                         -




     interpreted a statutory language enacted before the legislature adopted its canon, and that C.R.S.

     § 6-2-111 also was enacted before the canon was codified. "Each General Assembly is a distinct

     entity... and therefore what a later General Assembly thinks a statute does or should mean says

     little, if anything, about what the General Assembly that enacted it intended it to mean."




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     Francen v. Colo. Dept. of Revenue, --- P.3d ----, 2012 WL 2581029, at *7 (Colo. App. July 5,

     2012).

              In the 35 years since Q-T Markets was decided, no Colorado federal or state court has

     expressed disapproval with its holding that there is no private right of action for violation of

     C.R.S. § 6-2-108. Even Plaintiffs concede that, in the sole case it cites, the district court granted

     summary judgment against the private party pursuing the claim. See Medtronic Navigation, Inc.

     v. Brainlab Medizinische Computersystems GMBH, 2005 WL 1661081 (D. Colo. July 14,2005).

     Nothing in Medtronic states or even suggests that the court would have refused to apply the Q-T

     Markets opinion. Q-T Markets remains good law, and therefore Plaintiffs have no private right

     of action under C .R. S. § 6-2-108.

                                                   CONCLUSION

              The Court should grant Suncor summary judgment on Plaintiffs' First, Third and Sixth

     Claims for Relief and on Suncor's Third Affirmative Defense.

     Dated: March 29, 2013

                                                   Respectfully submitted,

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                                   CERTIFICATE OF SERVICE

              I hereby certify that on March 29, 2013, I served the foregoing SUNCOR'S REPLY TO
     PLAINTIFFS' RESPONSE TO DEFENDANT'S MOTION FOR SUMMARY
     JUDGMENT ON FIRST AND SIXTH CLAIMS FOR RELIEF AND THIRD
     AFFIRMATIVE DEFENSE (DOC. 185), by causing the foregoing to be presented to the Clerk
     of Court for filing and uploading to the CM/ECF system which will send notification of such
     filing to the following email addresses:


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